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                    Exhibit 18L
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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF LOUISIANA

                                                          *
IN RE: OIL SPILL by the OIL RIG                           *   MDL NO. 2179
       “DEEPWATER HORIZON” in the                         *
        GULF OF MEXICO, on                                *
        APRIL 20, 2010                                    *   SECTION J
                                                          *
                                                          *
                                                          *   JUDGE BARBIER
                                                          *   MAG. JUDGE SHUSHAN
*******************************************


                                       DECLARATION OF HAL SIDER

I.      QUALIFICATIONS

        1.      I am a Senior Vice-President of Compass Lexecon. I received a Ph.D. in Economics from

the University of Wisconsin (Madison). I have been with Compass Lexecon (formerly Lexecon) since

1985, having previously worked in several U.S. government positions. I specialize in applied

microeconomic analysis and have performed a wide variety of economic and econometric studies

relating to damages, competition, and antitrust. I have published a variety of articles in professional

journals including several that evaluate the impact of measurement error on economic analysis. A copy

of my curriculum vita is attached as Exhibit A to this declaration.

        2.      I led a Compass Lexecon team that advised BP during the negotiation of the Economic

Damage Claim Frameworks, including the Business Economic Loss (BEL) damage framework, of the

Economic and Property Damages Settlement Agreement in MDL 2179. Since that time I have continued

to assist BP in evaluating issues related to implementation of the BEL damage framework. Members of

my team at various times have been involved in discussions with PwC and Brown Greer, two of the

Claims Administration Vendors for the Court-Supervised Settlement Program (CSSP), on technical issues

relating to implementation of the BEL damage framework in MDS 2179. We also assist BP in

determining which offers made by CSSP to BEL claimants to appeal. As part of our on-going

responsibilities, I have reviewed numerous CSSP offers and claim files of BEL claimants, including

workbooks prepared by PwC and related data. I also monitor general trends in CSSP offers to BEL

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claimants and BEL claim activity, as reflected both in reports posted by the Claims Administrator to the

CSSP portal, and in claim-specific computer data files posted by CSSP each week that identify the status

of all claims, including claimant characteristics and the size of offers made to BEL claimants.

         3.       The Claims Administrator has observed that CSSP’s current approach to calculating

monthly revenue and variable profit “can result in awards that appear disproportionate”. This

declaration evaluates the source and empirical importance of distortions in BEL claim determinations as

well as their impact on BEL claims activity. I also have evaluated Class Counsel’s claim that distortions in

calculation of BEL awards do not systematically favor BEL claimants, and often reduce compensation

offered to claimants.

         This declaration also describes BP’s approach to implementing the BEL framework consistent

with its terms, and provides examples of how matching of revenues and corresponding expenses for

claimants would be undertaken for actual BEL claimants. These examples highlight the absurd and

disproportionate results of CSSP’s current approach, and show that BP’s approach is straightforward and

workable.

         A list of the materials I relied upon to conduct my evaluations is attached as Exhibit B.

II.      SUMMARY OF OPINIONS

         4.       Based on my analysis of CSSP BEL claims and trends in CSSP BEL claim activity, and

involvement in the implementation of the BEL framework, my principal conclusions are as follows:

         •    Available CSSP data indicate that the consequences of CSSP’s failure to align revenue with

              the corresponding expenses incurred in evaluating BEL claims are large and are growing.

                  o   BEL claimants in industries which have been identified as being subject to significant

                      errors in the measurement of variable profit, including construction, professional

                      services, and agriculture account for more than half of the 100 largest BEL offers by

                      CSSP and for more than 40% of the total value of CSSP BEL offers to date. Many

                      other large offers have been made to firms located far from the Gulf in industries


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              such as manufacturing (and others) which are typically not considered to have

              suffered spill-related harm, again indicating that errors in the measurement of

              variable profit distort offers under CSSP’s implementation of the BEL framework.

              (¶¶10-13)

          o   Few BEL claimants in the construction, professional services and agriculture sectors

              that have received large offers from CSSP had previously claimed that they had

              suffered spill-related harm by submitting Short Form Joinders (SFJs) to the MDL

              2179 Court. Similarly, few manufacturing firms had submitted SFJs. Along with

              other evidence presented here, this indicates that many large CSSP offers to these

              claimants are a result of measurement errors resulting in a windfall payment

              unrelated to the spill. (¶¶14-16)

          o   While the number of new BEL claims from tourism-based industries has been

              declining, the number of new BEL claims is increasing from sectors such as

              construction, professional services, agriculture and others that are subject to

              significant error in the measurement of variable profit by the CSSP. This indicates

              that CSSP’s actions are attracting new claimants that are likely to generate inflated

              offers due to CSSP’s reliance on flawed financial data to compute BEL claims. (¶¶17-

              20)

   •   CSSP’s failure to properly identify when revenue was earned and failure to match revenue

       with the corresponding variable expenses incurred to generate that revenue results in

       systematic overcompensation for BEL claimants. Distortions systematically increase BEL

       compensation offers because the months in which the CSSP’s measurement error increase

       estimates of the claimant’s lost variable profit are then selected from among the many

       options available for the compensation and benchmark periods for determining BEL

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             compensation. This problem is avoided simply by utilizing financial data that properly

             identifies when revenue is earned and properly aligns revenue with the corresponding

             expenses incurred in generating that revenue. (¶¶ 21-28)

        •    Irregularities in financial data submitted by claimants to CSSP are common and can be

             readily identified. 1 I have used data from CSSP claims files for BEL claimants and I have

             implemented the “triggers” identified by BP in its second submission to the Claims

             Administrator. This analysis requires no information other than that contained in the BEL

             claims workbooks of the Settlement Program’s accounting vendors. My analysis of BEL

             claims indicates that many claims in the construction, agriculture, professional services and

             other sectors are identified by empirical trigger tests that indicate the presence of errors in

             the measurement of when revenue is earned and failure to align revenue with the

             corresponding variable expenses. Application of the same triggers to BEL claims in other

             industries also indicates that such measurement problems by the CSSP are widespread,

             albeit somewhat less frequently than in the construction, agriculture, and professional

             services industries. (¶¶29-36)

        •    BP’s four-step approach to identifying and correcting data inaccuracies and matching

             problems is workable and can be readily implemented across a wide range of industries.

             The four-step approach described in Section VI incorporates and further elaborates on the

             approach described in (i) BP’s Response To Class Counsel’s December 16, 2012 Request for

             Policy Determination on January 9, 2013 and (ii) BP’s Further Submission in Response to

             Class Counsel’s December 16, 2012 Request for Policy Determination on January 11, 2013.

1
  By “irregularities” I mean failure of financial statements to record accurately revenue when earned and to match
it with corresponding variable expenses incurred to generate that revenue. That may be the simple result of how a
firm records cash payments and receipts in the normal course of business and, for purposes of this analysis,
irregularities is not intended to imply any intentional misrepresentation or error by the claimant.


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             This four-step approach is implemented for five claims that exhibit patterns of data

             inaccuracies and irregularities common to other claims. These inaccuracies can be readily

             identified and corrections can be readily implemented. (¶¶37-79)

        •    Application of BP’s approach to match revenue and corresponding variable expenses for a

             broader sample of agriculture claims and construction claims indicates that CSSP’s reliance

             on unadjusted data submitted by claimants systematically leads to substantially inflated

             offers, and contradicts Class Counsel’s claims that errors by CSSP in measuring variable

             profit work both for and against BEL claimants. The analysis also confirms that matching

             techniques described by BP to correct these errors can be readily applied across a broad set

             of BEL claims. (¶¶80-87)

        •    Class Counsel has incorrectly suggested that BP’s participation in quality assurance (QA)

             testing of CSSP’s Excel spreadsheet model for processing BEL claims effectively endorsed

             CSSP’s use of data that do not accurately reflect when revenue was earned and do not

             properly match it to corresponding variable expenses. The exercise mentioned by Class

             Counsel was designed solely to test the reliability of the computer programs used by CSSP in

             evaluating BEL claims. The exercise did not consider data quality issues because the

             accuracy of CSSP’s program was tested based on the assumption that the underlying data

             were accurate. (¶¶88-91)

III.    CSSP’S BEL IMPLEMENTATION IS RESULTING IN WINDFALL PAYMENTS TO LARGE GROUPS OF
        CLAIMANTS SUBMITTING FLAWED AND INCOMPLETE FINANCIAL DATA.

        5.       Prior BP filings to the Claims Administrator and the Court and declarations from BP’s

accounting experts have highlighted problems resulting from CSSP’s reliance in computing BEL claims on

financial data, such as cash-basis financial statements, that fail to align revenue with the corresponding

expenses incurred to generate that revenue. Much of this discussion has focused on BEL claimants in


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the construction, professional services, and agricultural sectors. 2 Analysis of claims from a wider set of

industries shows that matching issues are not unique to claims from the construction, professional

services and agriculture sectors, but instead are widespread. Nonetheless, distortions in CSSP offers to

claimants in these three sectors are pervasive and have been the focus of much prior discussion and are

the focus of the analysis presented in this section.

         6.       Under the Settlement Agreement, the compensation for BEL claims is based on whether

the claimant experienced a decline in variable profit in the post-spill time period of 2010 compared to a

pre-spill benchmark period. However, as discussed in the declarations of Roman Weil and Richard

Dietrich, evaluation of variable profits requires properly identifying when revenue is generated as well

as matching (or aligning) revenue and corresponding variable expenses incurred to generate that

revenue. 3 As a result, application of the BEL compensation and causation formulas using financial

information, such as that based on cash basis financial statements (or other financial statements that do

not properly align revenue and corresponding variable expenses), does not reliably measure revenue,

variable expenses, or variable profit.

         7.       More generally, offers generated by application of the BEL compensation formula as

Class Counsel proposes (and as currently implemented by the CSSP) using data that do not properly align

revenue and variable expenses will be driven by factors such as the timing of financial data entries and

measurement errors that are unrelated to changes in a firm’s variable profit. Under these

circumstances, the BEL compensation offer is likely to differ dramatically for two otherwise identical

firms that happen to keep their financial records in a different manner. For example, a manufacturing




2
  Declaration of David Hall, January 23, 2013; Declaration of Xavier Oustalniol, January 23, 2013; Declaration of
Charles E. Finch, January 23, 2013; Supplemental Declaration of David Hall, February 18, 2013; Supplemental
Declaration of Xavier Oustalniol, February 18, 2013; Supplemental Declaration of Charles E. Finch, February 18,
2013.
3
  Declaration of Roman L. Weil, February 18, 2013; Declaration of J. Richard Dietrich, February 18, 2013.


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firm that documents its claim using cash-based financial statements would be likely to generate a

substantially higher offer than an otherwise identical firm that used accrual basis accounting.

        8.      As explained further in Section IV below, measurement errors can raise or lower

calculations of changes in variable profit over time. However, the ability of claimants to be

compensated based on the set of months that generates the largest award means that the impact of

these BEL measurement errors by the CSSP will systematically result in windfalls for claimants (since

periods for which measurement errors reduces compensation results will not be selected as the

compensation period).

        9.      The remainder of this section shows that the failure to match revenue and

corresponding variable expenses affects a large number of BEL claims, resulting in payments that

overstate spill-related losses suffered by BEL claimants, and risks overpayment of a large number of

future BEL claims. This section also shows that the problems in CSSP’s implementation of the BEL

framework is attracting a growing number of new BEL claims from claimants in industries with financial

data that suffer from the “matching” problems identified by BP, including many from industries with no

connection to tourism or seafood and from locations remote from the Gulf Coast.

        A. Most large CSSP offers have been made to claimants in industries characterized by flawed
           financial data.

        10.     To highlight the magnitude of the impact on BEL offers from errors by CSSP in

measurement of variable profit, I have reviewed the 100 largest BEL offers made by CSSP to date, which

are listed in Table 1. Fully 54 of the 100 largest claims have been made to BEL claimants from the

construction, agriculture and professional services sectors that were the focus of BP’s prior submissions.

        11.     While it is possible that some of these firms were adversely affected by the spill, the

large size of many of the BEL claims in these industries, which have been identified by BP accounting

experts as often providing irregular financial data, likely reflects distortions due to CSSP’s reliance on

financial data that fail to properly identify when revenue was earned and fails to properly match

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revenue with the corresponding expenses incurred. Table 1 also shows that many of these claimants

are also located far from the Gulf coast, suggesting that measurement error, rather than spill impact

alone, has an important impact on CSSP’s offer.

        12.      Together with other data presented in this report, Table 1 indicates that the impact of

errors in CSSP’s measurement of variable profit on BEL offers is large and systematic, and often results in

windfalls to many BEL claimants unrelated to actual harm due to the spill. The presence of

manufacturing firms (such as                                            and others) on this list also

indicates that problems resulting from errors in calculating variable profit are not necessarily limited to

the construction, agriculture and professional services industries that have been the focus of discussion

to this point.




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          13.    In addition to accounting for the majority of the largest CSSP offers to BEL claimants,

claimants in the construction, agriculture and professional services sectors make up a large share of all

BEL offers made by CSSP to date. Table 2 reports the total number of BEL claims and total dollar value

of BEL claim offers made by CSSP in these three industries as well those from other sectors. As of

February 11, 2013, CSSP had offered $414.8 million to BEL claimants in these three sectors, which

reflects over 40% of the total amount offered to BEL claimants to date. Table 2 also highlights the

potential future impact of errors in the measurement of variable profit on BEL offers if the CSSP’s

process is not corrected. While that potential future impact cannot reliably be quantified and estimated

from current data, the fact that more than 80 percent of claims received by CSSP remain outstanding

(e.g., have not received an eligibility or a denial notice) indicates that the future impact could be

enormous. Furthermore, as discussed below, the inflow of new claims submitted to CSSP continues

unabated.

Table 2
                            CSSP BEL Submitted Claims and Offers as of February 11, 2013

                                                                                                                    Outsanding
                                                                                           Percent of                Claims as
                                                               Total                         Total       Number of Percent of
                                                 Number of   Amount      Percent of         Amount      Outstanding Category
                Industry                           Offers  Offered ($M) Total Offers        Offered       Claims       Total


                Agriculture                          103           $54.2          2%            5%           920           84%
                Construction                         593          $208.8         14%           20%         3,275           79%
                Professional Services                540          $151.7         13%           15%         1,813           73%
                Total for Selected Industries      1,236          $414.8         29%           40%         6,008           78%
                Total for All Industries           4,288        $1,028.4        100%         100%         29,372           81%


                Source: CSSP data through 2/11/2013.
                Notes:     Outstanding claims include those that have not yet received an eligibility notice or a denial notice.
                           Outstanding claims includes 6,960 claims which cannot be classified into industry type due to
                           missing data.




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           B. Few recipients of large CSSP offers from the farming, construction and professional
              services sectors signed SFJs.

           14.     The large majority of claimants in the construction, agriculture and professional services

industries that received large BEL offers did not submit SFJs which identify their intent to participate in

MDL 2179. While participation in the Economic and Property Damages Settlement is not restricted to

entities that signed SFJs, the fact that few of these BEL claimants with large offers had previously

claimed harm from the spill strongly suggests that other factors, including errors in the measurement of

lost variable profit, contribute to the large offers they receive. This view is reinforced by the fact that

claimants that wanted to seek damages against Transocean faced the “monitions deadline” to file their

claims on or before April 20, 2011. 4 Presumably, claimants that thought they had spill related claims

would not have wanted to risk being unable to recover damages from Transocean and those who filed

on or before the monitions deadline clearly preserved their ability to recover potential damages from all

defendants named in the economic damages master complaint, and thus would also have been

expected to file SFJs.

           15.     I have examined the 471 BEL claims generating offers that exceed $500,000 through

February 11, 2013, and I have identified which of these claimants had filed an SFJ. As shown in Table 3,

only 5.5% of construction claimants that received large BEL offers had signed SFJs. Similarly, only 2.7%

of the professional service claimants that received large BEL offers had signed SFJs; and less than 4% of

claimants in agriculture and manufacturing claimants receiving large awards had signed SFJs. In

contrast, 70.8% of seafood processors and wholesalers that received large BEL offers had signed SFJs,

and substantial percentages are also observed among retail claimants (41.4%), real estate claimants

(30.4%), and other claimants in tourism-related industries.




4
    See MDL 2179 Rec. Doc. 569 (Oct. 19, 2010)


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          16.    The low levels of participation in the SFJ process by claimants in the construction,

professional services, agriculture and manufacturing sectors indicate that many such claimants did not

believe that they suffered any significant loss related to the spill and thus implies that large CSSP offers

to such claimants are the likely product of errors in the measurement of lost variable profit that result in

windfall payments unrelated to the impact of the DWH spill.

Table 3

                                    Large CSSP BEL Offers Matched to SFJ Data

                                                                                Large CSSP
                                                                    All Large   BEL Offers
                                                                    CSSP BEL    Matched to
                                      Industry                       Offers         SFJ          % of Total
                    Professional Services                               73           2             2.7%
                    Manufacturing                                       29           1             3.4%
                    Agriculture                                         26           1             3.8%
                    Construction                                        91           5             5.5%
                    Health Care                                         20           2             10.0%
                    All Other Industries                                67          13             19.4%
                    Real Estate                                         23           7             30.4%
                    Bars and Restaurants                                32          11             34.4%
                    Hotels and Motels                                   28          10             35.7%
                    Retail Trade                                        58          24             41.4%
                    Seafood Processors and Wholesalers                  24          17             70.8%

                    All Large CSSP BEL Offers                         471            93            19.7%

                    Sources: CSSP data as of February 11, 2013; SFJ data as of March 16, 2012.
                    Notes: Based on CSSP BEL offers above $500,000.



          C. CSSP is attracting many new BEL claims from industries characterized by flawed financial
             data and from businesses that have not previously claimed to have suffered spill-related
             harm.

          17.    Trends in the number of new BEL claims submitted to CSSP further suggest that CSSP’s

use of flawed financial data to determine BEL compensation is attracting both new claimants with

flawed financial data as well as claimants that had not previously claimed harm from the DWH spill. As a

starting point, Figure 1 shows that the weekly number of newly submitted BEL claims varies from week

to week (due in part to holidays) but follows no discernible trend up or down.



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incurred to generate that revenue systematically results in overcompensation of claimants, often by

large amounts.

        22.      The BEL framework is designed to be “claimant friendly” in the sense that it offers 63

different combinations of compensation months and benchmark periods that can be used in

determining “Step 1” compensation alone, with the BEL compensation offer based on the alternative

that yields the highest award. 5 The flexibility provided to BEL claimants in selecting damage periods

under the Settlement Agreement was designed recognizing that not all claimants adversely affected by

the spill were harmed over the same time period.

        23.      However, errors in the measurement of variable profit resulting from CSSP’s reliance on

financial data that fail to identify when revenue was earned and fail to properly match revenue and

corresponding expenses incurred can be greatly magnified by the ability of claimants to be compensated

based on the most generous among multiple compensation periods and benchmark years. The

distortions will (almost) always work to increase compensation for a simple reason – any period in which

measurement error decreases estimates of lost variable profit will not be selected in determining

compensation, while periods in which measurement error increases estimates of lost variable profit

become the prime candidates for determining compensation.

        24.      Thus, a feature of the Settlement Agreement negotiated to provide BEL claimants with

flexibility in choosing the appropriate damage period has become a mechanism by which some BEL

claimants receive windfalls based upon errors in the measurement of variable profit, not on the

economic impact of the spill. Perversely, the greater the errors in the measurement of variable profit,

the greater the artificial inflation of BEL compensation offers (relative to the correctly measured loss in

variable profits). The resulting measures of compensation often bear no relation to a claimant’s

5
 The BEL framework requires claimants to choose “comparable months”. While CSSP does not appear to consider
this requirement, its application may affect the number of options available to claimants under the Settlement
Agreement in determining Step 1 compensation.


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(properly measured) loss in variable profits. This problem, however, can be avoided simply by the use

of financial data that properly identifies and matches monthly revenue with the corresponding expenses

incurred to generate that revenue.

          25.      The following example helps illustrate that greater measurement error systematically

results in greater compensation for BEL claimants. Table 4 compares the compensation awarded to a

hypothetical claimant when 2009 variable profit is (i) measured without error, (ii) measured with some

error, and (iii) measured with a higher degree of error.

Table 4
                  Example: Variability in Financial Data Increases Potential Compensation

                                      MAY        JUN   JUL        AUG   SEP    OCT   NOV    DEC   MAY-DEC

No Error in Measuring 2009 Variable Profit:
2009 Variable Profit                  30         30    30         30    30     30    30     30        240
2010 Variable Profit                  30         30    10         10    10     30    30     30        180
Change                                 0          0    20         20    20      0     0      0         60
JUL-SEP Compensation Period:                                      60

Small Error in Measuring 2009 Variable Profit:
2009 Variable Profit                  15         45    15         45    15     45    15     45        240
2010 Variable Profit                  30         30    10         10    10     30    30     30        180
Change                               (15)        15     5         35     5     15    (15)   15         60
JUN-OCT Compensation Period:                                      75

Large Error in Measuring 2009 Variable Profit:
2009 Variable Profit                  0          60     0         60     0     60     0     60        240
2010 Variable Profit                 30          30    10         10    10     30    30     30        180
Change                               (30)        30    (10)       50    (10)   30    (30)   30         60
JUN-OCT Compensation Period:                                      90



          26.      The three panels represent three scenarios which differ only with respect to how

monthly variable profit is measured in 2009. In the top panel, variable profit is assumed to be correctly

measured, and the claimant is assumed to earn variable profit of $30 in each month in 2009. In the

second panel, measurement error is assumed to affect variable profits reported on a monthly basis in

2009, resulting in reported variable profit that rotates between $15 and $45 from month to month in

2009, while maintaining the average variable profit of $30 per month over the full period. In the third


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panel, a higher degree of measurement error is assumed to affect variable profits reported on a monthly

basis in 2009, resulting in reported variable profit that rotates between $0 and $60 from month to

month in 2009, again maintaining the $30 per month average.6 In all three scenarios, the claimant’s

variable profit earned in May-December 2009 is the same. In each case, the claimant is assumed to earn

$30 per month in 2010 for all months except for post-spill months of July, August and September, for

which the claimant is assumed to earn only $10 per month. And in each scenario, the claimant is

assumed to have the same variable profit in May-December 2009 ($240) and May-December 2010

($180), and the same loss in variable profit from 2009 to 2010.

          27.    As the top panel shows, when variable profit is measured without error, July-September

is the BEL compensation period which generates the highest award -- $60. When the smaller error in

measurement of variable profit is introduced, June-October is selected as the compensation period,

resulting in a higher level of compensation -- $75. When the larger error in measurement of variable

profit is introduced, June-October is selected as the compensation period and compensation again

increases, this time to $90.

          28.    While this example is just an illustration, it accurately reflects the general principle that

errors in the measurement of variable profit typically result in higher compensation under the BEL

framework. The implications of this example are confirmed using data from real claims in Section VII

below, contradicting Class Counsel’s claim that errors in financial data have no systematic impact on BEL

offers.




6
  In this analysis, I assume that the economic activity in each month is identical, so that the same months in the
benchmark period and the compensation period are “comparable” as required by the Settlement Agreement BEL
framework.


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V.      IRREGULARITIES IN FINANCIAL DATA SUBMITTED BY CLAIMANTS TO CSSP ARE COMMON AND
        CAN BE READILY IDENTIFIED.

        29.       As discussed by BP’s accounting experts, monthly financial data submitted by many

claimants to CSSP often fail to properly identify when revenue was earned and fail to properly measure

variable profit and changes in variable profit. In declarations focusing on construction, professional

services and agricultural claimants, BP’s accounting experts have identified metrics that can be used to

identify claims subject to potential measurement error for which further review should be undertaken.

These metrics, or “triggers”, can be used to identify claimant financial data that reflect accounting

irregularities that can distort estimates of variable profit and thus BEL compensation. The metrics

identified by the BP experts include:

              •   Months with revenue “spikes” as reported by claimants: The presence of reported

                  revenue spikes suggests that revenue may not be recorded when it was earned, perhaps

                  instead reflecting when payment is received. Additionally, where the revenue of a

                  business is concentrated in one (or a few) months on an inconsistent annual basis, it is

                  likely that the revenue reported for the month was earned over a longer period of time.

                  The threshold would be set in a manner that ensures that normal seasonal variations in

                  revenue would not trigger a supplemental review. Below we refer to this as the

                  “revenue spike” trigger.

              •   Months with negative variable profit margins reported by claimants: Negative variable

                  profit as calculated under the Settlement Agreement based on claimant financial data is

                  an indicator that revenues and expenses may be mismatched. Negative variable profit

                  occurs when revenue fails to cover variable expenses. The existence of a negative

                  variable profit in a month suggests that reported revenue is not properly matched to

                  corresponding variable expenses because a business would not be expected to



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                  undertake activities that fail to cover their variable costs. Below we refer to this as the

                  “negative margin” trigger.

              •   Wide month-to-month swings in variable profit margin as reported by claimants:

                  Large month-to-month swings in measures of variable profit reported by claimants also

                  suggest that revenue is not reported when it is earned and/or are not properly matched

                  with the expenses incurred in generating that revenue. Such measurement errors can

                  result either from irregular monthly patterns in revenue or expenditures, or both.

                  Below we refer to this as the “margin variability” trigger.

        30.       I have evaluated these triggers for identifying likely matching problems and other errors

in measurement of revenue and expenses for a sample of BEL claims. The triggers and thresholds I have

applied should be considered preliminary and are subject to refinement based on further analysis. For

present purposes, I use the following thresholds for the triggers and apply the triggers to 2009 only.

              •   The “revenue spike” trigger identifies claimants for which revenue in any given month

                  exceeds 17% of the annual total. This level reflects two times a month’s pro-rata share

                  of annual revenue, which is 8.3%.

              •   The “negative margin” trigger identifies claimants that have negative margin in any

                  month which accounts for 2% or more of annual revenue. This threshold is applied to

                  avoid review of negative margin when it would have only an incidental effect on

                  measures of financial performance.

              •   The “margin variability” trigger identifies claimants for which at least one month’s share

                  of annual revenue deviates from the same month’s share of annual variable expenses by

                  more than 7.5 percentage points. Thus, if a given month accounts for a pro-rata share

                  of annual variable expenses (8.3%), this trigger would identify a claimant only if the

                  same month accounts for 15.8% or more of annual revenue. This threshold is selected


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                  to focus reviews on periods in which there is a material deviation between revenue and

                  expense shares for a given month.

        31.       While the specification of these triggers is preliminary, they provide a reasonable

starting point for evaluating the frequencies with which financial data provided by claimants to CSSP fail

to properly match revenue with corresponding expenses incurred. Specification of the appropriate

triggers may differ by industry. These triggers can be easily applied as they are based on the

uncorrected measures of revenue, variable expenses or variable profits reported in standard CSSP excel

workbook constructed for each claim. No new information is required and implementation of these

triggers would require only simple calculations based on these data.

        32.       I have evaluated triggers for more than 1,500 claims that have received BEL offers from

CSSP. This includes 454 BEL offers of more than $500,000 for which CSSP workbooks are available as

well as more than 1,000 additional randomly selected BEL claims for which CSSP has made offers and

BEL computation workbooks are available. For each of these BEL claims, I have extracted monthly data

on revenue, variable expenses and variable profits from CSSP’s workbooks.

        33.       Analysis of these BEL claims is summarized in Table 5 and indicates that based on 2009

data:

              •   98% of agricultural claims reviewed meet at least one trigger;

              •   82% of construction claims reviewed meet at least one trigger;

              •   85% of professional claims reviewed meet at least one trigger.

        34.       In contrast, only 23% of bar/restaurant claimants and 56% of hotel/motel claimants

meet at least one trigger in 2009. I would not expect matching issues would arise to the same degree in

the hotel/motel and bar/restaurant sectors because payment in these industries is typically received

when service is provided and variable expenses are dominated by labor expenses that would not be

expected to exhibit large “spikes”.


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          35.    Notably, the percentage of claimants in other industries presented in the table indicates

that the problem of inaccurate or irregular financial data is present across all industries. As noted

above, these results are based on data for 2009 and thus provide an estimate of the frequency with

which individual years of data would require additional review for potential matching issues by CSSP.

Since claimants are required to submit information for 2010 and may also submit financial information

for additional benchmark years, the percentage of claims that require any review will exceed the

number that require a review for any given year.

Table 5

                               Percent of Claims that Meet Triggers Based on 2009 Data

                                                                      Negative     Revenue
                Industry                                 Claims        Margin       Spike       Share Spike     Any Trigger
                Agriculture                                52           50%           96%           96%            98%
                Professional Services                      198          25%           58%           75%            85%
                Construction                               229          65%           48%           50%            82%
                Seafood Processors and Wholesalers         32           78%           28%           16%            81%
                Real Estate                                189          15%           52%           62%            80%
                Other Industries                           282          32%           39%           50%            69%
                Retail Trade                               180          42%           34%           27%            64%
                Manufacturing                              83           46%           30%           31%            58%
                Hotels and Motels                          61           10%           20%           49%            56%
                Health Care                                79            9%            6%           56%            56%
                Bars and Restaurants                       119           6%           15%           11%            23%
                Total                                     1504          33%           41%           49%            70%


                Notes:
                 1. Negative margin trigger is evaluated in months with at least 2 percent of annual revenue.
                 2. A revenue spike is a month with at least 17 percent of annual revenue.
                 3. A share spike occurs when the monthly share of annual revenues differs from the monthly share of
                   annual expenses by 7.5 percentage points.


          36.    In sum, my review of more than 1,500 BEL offers indicates that potential matching

concerns are pervasive in construction, professional services and agricultural claims, but also are

widespread among claims from other industries.




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VI.     APPLICATION OF A STANDARDIZED APPROACH TO IDENTIFYING AND REMEDYING DATA
        INACCURACIES AND MATCHING PROBLEMS IN BEL CLAIMS.

        37.       This section presents an approach for identifying data in financial statements that

reflect inaccuracies and that fail to match monthly revenues with corresponding variable expenses.

Correcting these problems is essential to obtaining reliable calculations of revenue, corresponding

variable expenses, and variable profit and, thus, to properly implement the BEL framework. I describe

BP’s standardized approach to identify and correct these problems, with the remedy tailored to the

specific pattern of data inaccuracies and matching problems observed for the claimant. This section also

implements BP’s approach for five actual BEL claimants with financial statements. Each of these

examples present patterns of data irregularities that are observed across a variety of claims.

        A. Description of BP’s General Approach to Proper Implementation of the BEL Framework

        38.       The section outlines a four-step approach to assure that the BEL framework is applied to

data that properly reflect monthly revenue and corresponding variable expenses. This four-step

approach incorporates and further elaborates on the approach described in (i) BP’s Response To Class

Counsel’s December 16, 2012 Request for Policy Determination on January 9, 2013 and (ii) BP’s Further

Submission in Response to Class Counsel’s December 16, 2012 Request for Policy Determination on

January 11, 2013. I also described in detail BP’s approach outlined here (¶¶38-46) on February 14,

2013, in the presence of the court-appointed mediator Dan Balhoff, to the Claims Administrator and

lead accountants for the Settlement Program and to Class Counsel and accountants working with Class

Counsel in a mediation session. At that session, I presented four of the five examples described below

(¶¶47-79).

              •   Step 1 -- Identify and Correct Inaccuracies in Monthly P&L Entries: This step, which

                  would be applied to all BEL claims, involves a line-item review of the monthly profit and

                  loss statements submitted by claimants for potential line item inaccuracies and the

                  implementation of appropriate corrections.

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              •   Step 2 -- Apply Triggers to Identify Potential Matching Problems: Claims in which

                  matching problems are likely to exist are identified through the trigger/thresholds

                  analysis detailed in Section V above. These include:

                      o    Months with revenue “spikes” as reported by claimants;

                      o    Months with negative variable profit margin as reported by claimants; and

                      o    Wide month-to-month swings in variable profit margin as reported by

                           claimants.

              •   Step 3 -- Apply Matching Strategies for Problems Identified In Trigger Analysis: This

                  step involves a review of the source of potential mismatches between revenue and

                  corresponding variable expenses identified in the trigger analysis. Any matching

                  problems identified through this review are then addressed though (i) discussions with

                  claimants and/or (ii) application of standard matching methodologies, such as those

                  outlined in Tab 1 of BP’s Response To Class Counsel’s December 16, 2012 Request for

                  Policy Determination, and described further in the context of the specific examples

                  below.

              •   Step 4 -- Apply BEL framework using corrected data and estimates of matched revenue

                  and variable expenses: The final step in the analysis applies the BEL framework for

                  causation and compensation as outlined in the Settlement Agreement in Sections 4B

                  and 4C based on financial information that more accurately matches revenue and

                  corresponding expenses, pursuant to Steps 1 and 3 above.

        39.       Each of these four steps is described in more detail below.

        Step 1: Identify and Correct Inaccuracies in Monthly P&L Entries

        40.       A necessary first step in evaluating a claimant’s monthly variable profit, which is the

foundation of the BEL framework, is identification of inaccuracies in line-item entries in the claimant’s

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P&L. This review is to be applied to all claims. While examples of such inaccuracies are identified below,

CSSP accountants that process claims may be aware of additional examples:

               •    “True up” or year-end adjustments: Financial statements submitted by many BEL

                    claimants include monthly entries that appear to reflect cumulative adjustments that

                    reflect “true ups” to correct for errors in prior months or other year-end or irregularly

                    reported line item entries, and thus may not simply reflect activity in the month for

                    which the data are reported. 7 For example, including cumulative “true up” corrections

                    in a single month yields erroneous measures of month-specific variable profit for two

                    reasons. First the “true up” reports more than one month’s activity. Second, the “true

                    up” leaves in place the errors in prior months that necessitate the year-end adjustment.

                    Examples of “true up” or year-end adjustments reported in CSSP BEL workbooks include,

                    but are not limited to:

                        o    “Bad debt” expenses: Many firms will recognize bad debt expenses at the end

                             of the calendar or fiscal year, or at other irregular intervals, resulting in large

                             and episodic reported expenses that in fact relate to bad debts incurred over

                             longer periods of time.

                        o    Year-end bonus or payroll expenses: Many firms pay bonuses at the end of the

                             calendar or fiscal year, resulting in large and irregular payroll expenses. Again,

                             these expenses reflect compensation to employees for work performed over

                             longer periods of time.




7
    Such year-end adjustments may occur at the end of fiscal years that do not coincide with calendar years.


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                      o   Inventory valuation adjustments: Like bad debt and bonus expenses, inventory

                          valuation adjustments are often taken at year end or at other irregular intervals

                          but relate to gains or expenses incurred over longer periods of time.

                      o   Other line item entries that are populated only at year end, such as profit-

                          sharing contributions and accrual adjustments.

              •   Negative or zero variable expenses: Such entries generally reflect corrections to entries

                  from prior months. Thus, such entries typically imply that data for multiple months may

                  be misreported, not just information for the month with the negative entry.

              •   Negative revenues: Such entries may reflect corrections to revenue reported in prior

                  months.

        41.       My on-going review of claim files indicates that CSSP accountants often identify these

types of inaccuracies and communicate with claimants in an attempt to understand them. 8 Frequently,

these explanations could be directly incorporated into the claim evaluation process but this does not

appear to be done. In cases in which the source of inaccuracies cannot be identified based on

communication with the claimant, it may be possible to apply corrections that more accurately reflect

when the expenses reported by claimants were incurred and when revenue was generated. For

example, for bonus payments, CSSP accountants can allocate reported year-end expenses to individual

months based on the monthly share of non-bonus payroll expense. Similarly, bad debt expenses

reported by claimants might be allocated based on measures of monthly revenue.

        Step 2: Apply Triggers to Identify Potential Matching Problems

        42.       Step 2 in implementation of a standardized approach to identifying and correcting data

inaccuracies and matching problems in data submitted by claimants is the application of the trigger

8
 Many claim files include email correspondence that discusses such issues. In addition, the “Global Notes” section
of CSSP claim-specific portals often includes notes from discussions between CSSP accountants and claimants.


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analysis discussed in Section V above. The trigger analysis identifies circumstances in which revenue and

variable expenses as reported in claimant-submitted financial statements may not be properly aligned.

The trigger analysis is applied to all claims and to all months in 2010 and the Benchmark Period. As

discussed above, potential matching concerns are identified by the following triggers:

             •   Months with revenue “spikes” as reported by claimants: The presence of reported

                 revenue spikes suggests that revenue may not be recorded when it was earned, perhaps

                 instead reflecting when payment is received. Additionally, where the revenue of a

                 business is concentrated in one (or a few) months on an inconsistent annual basis, it is

                 likely that the revenue reported for the month was earned over a longer period of time.

                 The threshold would be set in a manner that ensures that normal seasonal variations in

                 revenue would not trigger a supplemental review. 9

             •   Months with negative variable profit margin as reported by claimants: Negative

                 variable profits reported in claimant financial data is an indicator that revenues and

                 expenses may be mismatched because firms typically would not operate when variable

                 profit is negative. Negative variable profit occurs when revenue fails to cover variable

                 costs. The existence of a negative variable profit in a month suggests that reported

                 revenue is not properly matched to corresponding variable costs because a business

                 would not be expected to undertake activities that fail to cover their variable costs. 10

             •   Wide month-to-month swings in variable profit margin as reported by claimants:

                 Large month-to-month swings in measures of variable profit reported by claimants also

9
  My analysis in Section V identifies a claimant as meeting the “revenue spike” trigger in any month in which
revenue exceeds 17% of the annual total. This level reflects two times a month’s pro-rata share of annual revenue,
which is 8.3%.
10
   The “negative margin” trigger applied in Section V identifies claimants that have negative margin in any month
which accounts for 2% or more of annual revenue. This threshold is applied to avoid review of negative margin
when it would have only an incidental effect on measures of financial performance.


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                   suggest that revenue is not reported when it is earned and/or are not properly matched

                   with the expenses incurred in generating that revenue. Such measurement errors can

                   result either from irregular monthly patterns in revenue or expenditures, or both. 11

         43.       After identifying such potential problems, CSSP accountants should attempt to obtain

additional information from claimants that would enable them to determine whether revenue is

properly matched with corresponding variable costs or instead reflect changes in the claimant’s financial

performance. Where a matching problem is found to exist, revenue and corresponding variable

expenses would be matched based on procedures outlined in Step 3.

         Step 3: Apply Objective Strategies to Correct Matching Problems Identified In Trigger Analysis

         44.       Step 3 of the analysis involves matching revenue and corresponding variable expenses

for claims where problems are identified in Step 2. There are two general approaches to matching

revenue and corresponding expenses: (i) use of information provided by claimants; and (ii) application

of standardized matching methodologies to financial data submitted by claimants that result in

improved matching of revenue and corresponding variable expenses.

Matching based on information provided by claimants:

         45.       Certain matching problems identified through the trigger analysis can be remedied

based on information provided by claimants. For example:

               •   Claimants that submit data characterized by spikes in reported expenses, perhaps due

                   to expenditures for bulk purchases of inventory, may be able to identify the time period

                   over which the inventory is used. This would allow CSSP accountants to more accurately



11
  The “margin variability” trigger applied in Section V identifies claimants for which at least one month’s share of
annual revenue deviates from the same month’s share of annual variable expenses by more than 7.5 percentage
points. This threshold is selected to focus reviews on periods in which there is a material deviation between
revenue and expense shares for a given month.


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                     determine variable expenses by assigning expenditures to the months in which

                     inventory was used.

                 •   Claims for which claimants submit data that identifies revenue spikes, such as those

                     associated with receipt of periodic payments on long term projects, may be remedied by

                     claimant’s provision of information on the term of the project that generated the large

                     cash receipt and/or expenses incurred each month for the project. This information, in

                     turn, can be used to estimate monthly revenue by reference to the months in which

                     expenses were incurred to generate revenue, rather than incorrectly equating cash

                     received in a month with revenue.

Application of Standardized Matching Methodologies:

           46.       When claimants do not provide sufficient information to provide a specific basis for

matching revenue and corresponding variable expenses, standard matching methodologies should be

applied. Two basic approaches can be implemented, depending on the circumstances that give rise to

the matching problem. In the first approach, matching is achieved by estimating monthly revenue

earned based on a claimant’s annual revenue and the pattern of its monthly expenses; in the second

approach, matching is achieved by estimating monthly expenses incurred based on a claimant’s annual

expenses and the pattern of its monthly revenue.

                 •   For claimants, such as those in the construction industry, for which claimants may

                     reliably report monthly expenses incurred but are less likely to reliably report monthly

                     revenue earned, matching is achieved as follows 12: First, calculate on an annual basis

                     the ratio of revenue to variable expenses. Second, estimate matched monthly revenue

                     by multiplying (i) reported monthly expenses and (ii) the annual ratio of revenue to


12
     Declaration of David Hall, January 23, 2013.


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                   expenses. These calculations would be made after incorporating any corrections

                   identified in Step 1 and after any matching based on information provided by

                   claimants. 13

               •   For claimants, such as those in service, distribution and certain manufacturing

                   industries, which reliably record their revenue when it is earned but do not reliably

                   report when expenses are incurred (due perhaps to large inventory purchases),

                   matching is achieved as follows: First, calculate on an annual basis the ratio of variable

                   expenses to revenue. Second, estimate matched monthly expenses by multiplying

                   reported monthly revenue by the annual ratio of variable expenses to revenue. These

                   calculations would be made after incorporating any corrections identified in Step 1 and

                   after any matching based on information provided by claimants.

Step 4 -- Apply BEL framework using corrected and matched revenue and variable expenses

         47.       Step 4 of the analysis involves application of the BEL framework using the corrected

data on revenue and corresponding variable expenses. The corrected data are used both for

determining causation based on changes in revenue as described in Exhibit 4B of the Settlement

Agreement and to determine compensation based on changes in variable profit as described in Exhibit

4C of the Settlement Agreement. Nothing in the matching approach changes the BEL causation or

compensation frameworks specified in the Settlement Agreement. Instead, the matching approach

helps ensure that the BEL framework is applied to more reliable financial information.




13
  In the construction industry, job-specific progress reports can be applied on a job-specific basis to match
revenue and corresponding variable expenses. In the absence of job-specific data, the matching approach can be
applied based on aggregate information which may yield less reliable results.



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        B. Application of General Approach to Sample BEL Claims

        48.       As mentioned above, I have applied this approach in evaluating five sample BEL claims:

              •                    a rice farm

              •                               a road paving contractor

              •                          a catfish farm

              •                  a law firm

              •                          a furniture distributor

        49.       This section provides a brief and high level overview of each claim and the approach

applied to identify and remedy matching issues they present. A more detailed description of the steps

involved in the evaluation of these claims and the implementation of the remedies to account for the

matching problems is presented in Exhibit C. The empirical application of the matching methodology

and calculation of Step 1 compensation for each claim is then presented in Exhibit D.

        50.       These examples demonstrate how BP’s approach to BEL implementation should be

applied to specific claims. However, in order to demonstrate BP’s approach to BEL implementation, it is

necessary to make certain assumptions about the sources of data inaccuracies that would be available

to CSSP accountants, who can contact claimants directly. My analysis focuses on Step 1 of the BEL

compensation calculation only, which reflects the change in variable profit between the benchmark and

compensation periods, because matching issues do not directly affect Step 2 of the BEL compensation

calculation (which reflects the loss of potential growth over the benchmark period) or the Risk Transfer

Premium.




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         51.                        is a rice farm                  which is in Zone D. CSSP’s BEL calculations,

which do not attempt to correct for data inaccuracies or irregularities, indicate that              variable profit

fell by roughly $90,000 in 2010 relative to the benchmark year of 2009.              was offered BEL Step 1

compensation of $2.4 million, which is nearly 90% of its benchmark revenue of $2.7 million.

         Step 1: Identify Data Inaccuracies

         52.      No P&L line item inaccuracies were identified for

         Step 2: Apply Triggers

         53.            financial data exhibit large revenue spikes and many months of negative variable

profit, which indicate the presence of matching problems.

         Step 3: Matching Revenue and Corresponding Variable Expenses

         54.      Matching problems are remedied by first identifying the revenue generated by the

claimant’s 2009 and 2010 farming activities. Given the nature of rice farming, revenue generated by the

2009’s crop can be realized in late 2009 or early 2010. That is, revenue was earned from 2009 farming

activities may generate payments in early 2010. Identification of when revenue was earned by                   is

accomplished by attempting to associate the “crop year” revenue (which includes sales of the 2009 crop

in early 2010) with the expenses incurred in growing the crop (which typically are incurred in 2009 for

the crop grown in 2009). For example,             2009 crop year revenues would reflect all revenue received

from July 2009 through June 2010. 15




14
   A more detailed description of the steps involved in the evaluation of                   and the calculation of
Step 1 compensation are presented in Exhibits C.1 and D.1. Tab 1 of BP’s Response To Class Counsel’s December
16, 2012 Request for Policy Determination also provides an overview of the general approach to matching revenue
and corresponding variable costs for farming claims.
15
   This time period reflects the USDA crop year for rice. Declaration of Charles E. Finch, January 23, 2013, Appendix
D.


                                                         32
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         55.      For     matched revenue is determined on a monthly basis based on the claimant’s

effort over the production cycle, as reflected in its monthly variable expenses. More specifically, I

calculate the ratio of the claimant’s annual (crop year) revenue to the its annual (production year)

variable expenses, and then calculate monthly matched revenue by multiplying (i) monthly expenses

and (ii) the ratio of annual revenue and variable expenses as described above.

         Step 4: Apply BEL framework

         56.      Based on the matching approach, the Step 1 compensation formula is directly applied to

the adjusted financial data as described by the Settlement Agreement and the months that permit the

highest claimant compensation are identified. Step 1 compensation based on matched revenue and

variable expense information is $151,000, a reduction of 94% from the CSSP’s calculation.           would

pass the Zone D V-test based on the adjusted revenue data.



         57.                  is a paving contractor                 which is in Zone D. CSSP calculations,

which do not attempt to correct for data inaccuracies or irregularities, indicate that               variable

profit was $3.5 million higher in the May-December 2010 compared to the same months for benchmark

period 2007-09.               was offered BEL Step 1 compensation of $6.1 million.

         Step 1: Identify Data Inaccuracies

         58.      Review of               financial information as compiled by CSSP show that bad debt

expenses were recorded in December of each year and also exhibit certain negative expense entries.

For current purposes, no corrections for these inaccuracies were incorporated into the analysis.



16
  A more detailed description of the steps involved in the evaluation of        and the calculation of Step 1
compensation are presented in Exhibit C.2 and D.2. Tab 1 of BP’s Response To Class Counsel’s December 16, 2012
Request for Policy Determination also provides an overview of the general approach to matching revenue and
corresponding variable costs for construction claims.


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However, CSSP accountants may be able to obtain information to determine when, for example, bad

debt expenses were incurred (as opposed to when they were recorded for recordkeeping purposes).

         Step 2: Apply triggers

         59.                  financial data exhibit a revenue spike in June 2010 (18.5% of annual

revenue) accompanied with negative variable profits in other various months, which provide evidence of

matching problems in these periods.

         Step 3: Match Revenue and Corresponding Variable Expenses

         60.     Monthly matched revenue is estimated based on the claimant’s measured effort, as

reflected in monthly variable expenses reported in its financial statements. 17 I calculate the ratio of the

claimant’s annual revenue to the its annual variable expenses, and then estimate monthly matched

revenue by multiplying (i) monthly expenses and (ii) the ratio of annual revenue and variable expenses.

         Step 4: Apply BEL Framework

         61.     Based on this matching approach, the Step 1 compensation formula is directly applied to

the adjusted financial data as described by the Settlement Agreement and the months that permit the

highest claimant compensation are identified. For                   the resulting Step 1 compensation is $2.42

million, a reduction of 61% from the CSSP’s calculation.                 would pass the Zone D V-test based

on adjusted revenue data.



         62.                               is a catfish (aquaculture) farm located                   which is in

Zone D. CSSP calculations, which do not attempt to correct for data inaccuracies or irregularities,

indicate that                earned only $14,000 in variable profit in the benchmark year of 2009 but

17
             job-specific percent-of-completion reports are not available for this analysis, but could be readily
applied and would likely result in more accurate matching of revenue to the corresponding variable expenses.
18
   A more detailed description of the steps involved in the evaluation of             and the calculation of Step 1
compensation are presented in Exhibit C.3 and D.3.


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earned $720,000 in variable profit in 2010. CSSP’s calculations indicate that variable profit rose by $1.4

million in January-April 2010 relative to 2009, but fell by roughly $700,000 in May-December 2010

relative to the benchmark period. CSSP offered                   BEL Step 1 compensation of $676,000.

        Step 1: Identify Data Inaccuracies

        63.     Review of                    financial statements identified negative fuel expenses in one

month, which reflects a potential line-item inaccuracy and might be addressed by communications

between CSSP accountants and the claimant. Correction of this inaccuracy was not incorporated into

the analysis.

        Step 2: Apply Triggers

        64.                      financial data exhibit evidence of a mismatch between revenue and

corresponding expenses, including revenue spikes in November 2009 (32% of annual revenue) and April

2010 (28% of annual revenue). In addition, CSSP calculations indicate that the claimant had negative

variable profit of $907,000 in April 2009.

        Step 3: Match Revenue and Corresponding Variable Expenses

        65.     Review of                    financial statements available at the CSSP portal indicate that

the negative variable profit calculated by CSSP for April 2009 was due to a large bulk feed purchase

which, presumably, was used over an extended number of months. In this case, feed expense should be

recognized when feed was used in production, not the month in which the cash outlay was made to

purchase feed inventory. Communications between CSSP accountants and the claimant should be able

to establish the period over which the bulk feed purchase was consumed in production. For the purpose

of implementing this example, I assume that the April 2009 feed purchased is $900,000 and that it is

consumed over a 12 month period, and assign it on a pro-rata basis over each of these months.

        66.     Matching revenue to corresponding expenses for                     is addressed in a manner

analogous to that used in the                    and            claims. Specifically, revenue and

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        Step 2: Apply Triggers

        70.                      financial data provide evidence of a mismatch between revenue and

corresponding expenses, including revenue spikes in December 2008 (71% of annual revenue), January

2010 (32% of annual revenue) and May-June 2011 (combined 48% of annual revenue). In addition, the

financial statements reveal smaller revenue spikes in December of 2009 (22% of annual revenue) and

2010 (18%).

        Step 3: Match Revenue and Corresponding Variable Expenses

        71.     Discussions between CSSP accountants and the claimants may be able to ascertain the

reasons for the revenue spikes, which are likely due in part to the receipt of payments associated with

the resolution of contingent fee matters. While the receipt of contingency fee payments may be

received in a lump sum, this payment reflects revenue earned over an extended period of time. As a

result, for the purposes of matching revenue and corresponding expenses, revenue is appropriately

considered to have been earned when the effort generating the revenue was expended, as opposed to

when payment was received. In addition, the smaller year-end revenue spikes are assumed to reflect

year-end collections efforts by law firms for work performed in prior months. For the purposes of

matching revenue and corresponding expenses, such year-end collections are appropriately considered

revenue earned in prior months.

        72.     If information on a law firm’s effort associated with contingent fee matters is available,

this information can be used to allocate the lump sum revenue generated from contingency fee cases to

the periods in which effort was expended to generate this revenue. Here, no such information is

available so for implementation purposes revenue is assigned on a pro-rata basis to the months during

which the matter was active, which is assumed to be in the 36 months prior to the December 2008

revenue spike and in the prior 12 months for the other revenue spikes assumed to be associated with

resolution of contingent fee cases. For implementation purposes I also assume that $200,000 in

                                                    37
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December revenue (assumed to result from increased collection of outstanding receivables at year end)

was earned in equal amounts in each month of the calendar year.

         73.     Finally, because revenue earned on contingent fee matters is appropriately considered

to be earned based on the effort expended, not when cash received, law firms with open (unresolved)

contingent matters are appropriately considered to have earned revenue that has not yet been realized.

Implementation of BP’s approach for matching revenue and expenses for law firms with open

contingent cases takes account of this by imputing revenue associated with these cases. This imputation

is based on (i) the number of contingent fee cases worked on by law firm claimant during the

benchmark period, 2010 and 2011 that remain open at the time of the claim review; and (ii) an estimate

of the average revenue generated per month of effort from the law firms on contingency fee cases.

         74.     The average monthly revenue generated on closed contingent fee cases is based on the

firm’s historical experience, based on (i) the number of closed contingency cases the claimant had in

prior years; (ii) the aggregate number of months the firm worked on these cases; and (iii) the aggregate

recoveries from these cases (including those that generated no revenue). An example of how the

average historical value of a law firm’s closed contingent cases is determined is shown on page 2 of

Exhibit D.4. Monthly revenue calculated in this way is imputed to each month in which the open

contingent fee cases were active during the benchmark and compensation period. 21 As a result, the

imputation would result in higher matched revenue in any month in the benchmark period, 2010 and

2011 for a claimant with open matters. The higher 2011 revenue would increase the claimant’s ability

to pass the V-test for causation; while the higher 2010 revenue would lower compensation available

under the BEL formula.

21
  As an alternative, standard valuation tools used in valuing contingent fee litigation in cases of partnership
dissolutions or divorces could be applied. In such cases, the imputation of revenue for open contingent fee cases
would account for the typical duration of such cases (e.g., a case valued at $200,000 and expected to have a four-
year period between initiation and resolution would result in imputed revenue of $50,000 per year).


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          Step 4: Apply BEL Framework

          75.    Application of the matched revenue and variable expenses in the BEL framework for

                 including matching of revenue generated in open and closed contingent fee cases, results

in corrected BEL Step 1 compensation of $220,000, an 83% reduction from the CSSP offer.

        would pass the Zone D V-test based on adjusted revenue data.



          76.                              is a school and office furniture distributor            which is in

Zone D. CSSP calculations, which do not attempt to correct for data inaccuracies, indicate that

                         earned variable profit of $456,000 in 2008, $163,000 in 2009 and $174,000 in

2010.                           was offered BEL Step 1 compensation of $676,000.

          Step 1: Identify Data Inaccuracies

          77.    Review of                             financial statements identified negative revenue of

$708,000 in February 2008. This entry likely reflects a correction from misreported revenue in prior

months. CSSP accountants should be able to identify the nature of this inaccuracy and implement an

appropriate correction based on conversations with the claimant. However, for current purposes I

assume that revenue in the prior month (January 2008) was overstated by $1 million and re-assign this

sum to February 2008, thus maintaining the same two-month total revenue as reported in the P&L

statement.

          Step 2: Apply Triggers

          78.                              also exhibits evidence of matching problems, including revenue

spikes in July and August 2008 (which account for 22% and 19% of annual revenue respectively) as well

as negative variable profit in multiple months. This includes negative variable profit of -$407,000

22
  A more detailed description of the steps involved in the evaluation of                   and the calculation
of Step 1 compensation are presented in Exhibit C.5 and D.5.


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reported in August 2010. Review of                             financial statements indicates that this is the

result of $1 million in “purchases” in August 2010, a line item within cost of goods sold.

        Step 3: Match Revenue and Corresponding Variable Expenses

        79.       Given the wide range in variable expenses, which is characteristic of distributors like

                        that hold large amounts of inventory that are then sold over ensuring months, I

match revenue to corresponding expenses incurred as follows: (i) determine the annual ratio of variable

expenses to revenue for each calendar year; (ii) calculate matched expenses as the product of this ratio

and the monthly revenue, reflecting adjustment for the inaccuracy discussed above.

        Step 4: Apply BEL Framework

        80.       Application of the matched revenue and variable expenses in the BEL framework for

                        yields corrected BEL Step 1 compensation of $112,000, an 81% reduction from

the CSSP offer.                          would pass the Zone D V-test based on adjusted revenue data.

 VII.    BP’S APPROACHES TO IDENTIFYING WHEN REVENUE IS EARNED AND MATCHING REVENUE
         WITH CORRESPONDING EXPENSES ARE READILY IMPLEMENTED AND CONFIRM THAT MANY
         LARGE BEL CLAIMS ARE INFLATED UNDER CSSP’S CURRENT APPROACH.

        81.       Under my direction, the Compass Lexecon team has implemented a preliminary version

of BP’s approach for evaluating BEL claims from agricultural and construction claimants that generated

large offers from CSSP. The analysis is based on financial data reported in CSSP workbooks for each

claimant.

        82.       The analysis shows (i) that BP’s matching approach can be readily implemented on a

broad scale; and (ii) that the failure to identify when revenue was earned and the failure to match

revenue to corresponding expenses results in BEL base compensation offers that systematically

overstate claimants’ lost variable profits. Thus, this analysis refutes Class Counsel’s assertion that BP’s

approaches are unworkable as well as Class Counsel’s assertion that the distortions resulting from

CSSP’s current implementation of BEL work both for and against claimants.

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         83.       The analysis is based on a sample of 16 farming offers and 91 construction offers, all of

which are among BEL offers of more than $500,000 as of February 11, 2013. 23 The analysis is based on

agricultural and construction claims from this group that meet one or more of the “trigger” criteria

identified in Table 5 above. We use data from CSSP spreadsheets to (i) reproduce CSSP’s base

compensation offer; and (ii) apply the preliminary version of the BP approach and then re-calculate the

base compensation offer.

         84.       In brief, implementation of the BP methodology involves the following steps:

               •   For construction claims identified by the triggers described in Section V as having

                   potential matching problems, revenue was aligned with corresponding variable

                   expenses by multiplying (i) the ratio of revenue to variable expenses defined for a given

                   year, and (ii) the monthly variable expenses reported by the claimant. The resulting

                   estimates of monthly revenue earned and monthly variable profits are then used in

                   implementing the BEL formulas. BP’s strategy for construction claims recognizes that

                   additional adjustments may be necessary to account for unusual one-time cost entries

                   in claimants’ financial statements, which is likely to require communication with

                   claimants. 24 Thus, we have not implemented this aspect of BP’s approach and instead

                   exclude from the analysis claims with large spikes in variable expenses. Out of the 91

                   construction claims among the large CSSP offers, 29 were excluded due to large spikes

                   in variable expenses. Of the remaining 62 claims, we have implemented BP’s approach

                   to matching revenue and expenses for the 46 claims which met one or more of the


23
   Analysis of agriculture claims excludes aquaculture claimants such as alligator farms, which raise financial
reporting issues that are distinct from those raised by crop farming claims.
24
   This is contemplated in the Settlement Agreement Ex. 4A ¶ 4, which states that “The Claims Administrator may,
in his discretion, request source documents for profit and loss statements.” and note 1, which states that
additional documentation may be required for specific business types.


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                   triggers described in Section V. Four of those 46 claims clearly would fail the V-test

                   (which is the mathematical test used in the BEL causation requirements for certain

                   claimants) after implementing BP’s approach, leaving 42 claims on which we calculated

                   compensation. 25 As described above, a preferred approach to evaluation of

                   construction claim would apply the general methodology based on job-specific

                   schedules. However, such schedules are not available in CSSP worksheets so the

                   analysis of construction claims is based on each claimant’s aggregate activity.

               •   For agriculture claims identified by the triggers described in Section V as having

                   potential matching problems, we first identify crop year revenue and production year

                   expenses. 26 We approximate monthly revenue earned by multiplying (ii) the ratio of

                   crop year revenue to production year variable expenses and (ii) monthly variable

                   expenses incurred. The resulting estimates of monthly revenue and variable expenses

                   are then used in implementing the BEL formulas. Because all 16 of the farming claims

                   among the large CSSP offers with available data meet one or more of the triggers, we

                   have implemented BP’s approach on all 16 claims.

         85.       BP’s approaches to matching revenue and corresponding expenses have been

implemented for both agriculture claims and construction claims using both a spreadsheet framework

like that used by CSSP as well as SAS, a standard computing and statistical software package. While

additional claim-specific review of claimants’ financial records by CSSP would be necessary to resolve

data inaccuracies and help match revenue and expenses, our analysis demonstrates that the


25
   With respect to these 42 claims, further refinement of the preliminary approach to account for irregular
expenses in estimating when revenue was earned would be expected to result in identification of other claimants
that would not pass the V-test. However, for present purposes, I have assumed that they would pass the V-test.
26
   For example, in my application the crop year 2009 is defined as July 2009 through June 2010, and the 2009
production year is equivalent to January through December 2009.


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implementation of BP’s strategies, even in the absence of this information, is workable and

straightforward.

          86.    The results of our analysis indicate that CSSP’s failure to match revenue with variable

expenses incurred leads to base compensation offers that substantially overstate the claimant’s loss in

variable profits. When using the term “base compensation offer,” I mean the BEL compensation offer

amount computed under the BEL compensation formula from adding together Step 1 compensation and

Step 2 compensation, and does not include the RTP. As shown in Table 6, CSSP overstated base

compensation offers relative to offers based on BP’s approach for 34 of the 42 (81%) construction claims

analyzed and CSSP overstated offers based on BP’s approach for 100% of the agriculture claims

analyzed. 27

Table 6

                                    CSSP Offers and Offers Based on BP Proposal

                                                   Number with CSSP     CSSP Overstatement
                                        Analyzed   Offer Overstated    Relative to BP Proposal
                     Industry            Claims      #          %       Overall       Median

                     Construction           42        34         81%       47%          51%
                     Agriculture            16        16        100%      170%         154%



          87.    Among the construction claims, CSSP’s base compensation estimate overstates that

based on BP’s approach by 47% overall, with a median overstatement of 51%. Among agricultural

claimants, CSSP’s base compensation estimate overstates that based on BP’s approach by 170% overall

(e.g., CSSP offers are almost triple than that based on data that match revenue with the corresponding

expenses). For agriculture claims, the median overstatement was 154%.




27
  For the construction claims in which the BP methodology yielded a higher base compensation offer, the
differences range from 0.2% to 34%.


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         88.    In sum, this analysis both shows that BP’s approaches are workable and indicate that

CSSP’s failure to identify when revenue was earned and its failure to match revenue with corresponding

expenses systematically and substantially overstates offers made to claimants. However, it is also

important to stress again that our implementation of BP’s approach is preliminary. As noted above, we

have not fully evaluated irregularities in variable expenses. Further, our analysis is not able to take

advantage of claimant-specific information of the type regularly obtained by CSSP in conversations with

claimants about their financial statements. Incorporating such information into the analysis would likely

result in improved estimates of when revenue is earned. That would also result in improved matching

of revenue to variable expenses incurred and also would result in more reliable application of the V-test

in the BEL causation requirements for certain claimants.

 VIII.   QUALITY ASSURANCE TESTING OF CSSP’S SPREADSHEET MODEL DID NOT ADDRESS THE
         RELIABILITY OF THE UNDERLYING DATA.

         89.    Class Counsel has incorrectly suggested that BP’s participation in a quality assurance

testing of CSSP’s Excel spreadsheet model for processing BEL claims effectively endorsed the CSSP’s use

of data to validate the model that do not accurately reflect when revenue is earned or that do not

accurately match revenue to the corresponding variable expenses. Compass Lexecon staff participated

in the exercise mentioned by Class Counsel under my general direction.

         90.    The exercise mentioned by Class Counsel was designed to test the reliability of the

computer programs used by CSSP in evaluating BEL claims, and involved testing whether the use of the

same data in different computer models generated the same computational results. Specifically, the

exercise compared results calculated in CSSP’s Excel spreadsheet to results calculated by Compass

Lexecon using SAS programs. SAS is an industry standard data processing and statistical software

package regularly used at Compass Lexecon.

         91.    Data for the 62 test claims were provided by Class Counsel and did not identify the

name of the claimant. In some cases the claimant’s industry was not identified. Based on claimants for

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which industry was known, the largest industry categories were hotels, restaurants, retail, and seafood

processors/wholesalers. Two claimants were identified as construction firms and no claimant was

identified as a farm or law firm.

        92.     The test simply ran the same data through two computer programs to see if they

produced similar results. The test did not address the quality or reliability of the data used in the

analysis. More specifically, there was no reference to year-end financial statements, tax returns, or

other documents that the CSSP might use (or could request under Settlement Agreement Ex. 4A ¶ 4) in

evaluating the accuracy of the data. The exercise did not focus on the data quality for the simple reason

that determination of the accuracy of the computer program only depended on the use of a common

data set, not the accuracy of the underlying data.




I declare under penalties of perjury that the foregoing is a true and correct statement of my analysis and
opinions.



                                                          _____________________________________
                                                                       Hal Sider

Dated: February 18, 2013




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                          EXHIBIT A
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 HAL SIDER                                                                   January 2013
 Senior Vice President



 Business Address:       Compass Lexecon
                         332 S. Michigan Ave.
                         Suite 1300
                         Chicago, IL 60604                                   (312) 322-0229
                         hsider@compasslexecon.com


 Home Address:           385 Ramsay Road
                         Deerfield, IL 60015                                 (847) 405-0153


                                      EDUCATION

 Ph.D., UNIVERSITY OF WISCONSIN, Madison, Wisconsin: Economics, 1980.

 M.A., UNIVERSITY OF WISCONSIN, Madison, Wisconsin: Economics, 1978.

 B.A., UNIVERSITY OF ILLINOIS, Urbana, Illinois: Economics, 1976.


                                     EMPLOYMENT

 COMPASS LEXECON (formerly Lexecon), Chicago, Illinois (October 1985 - present):
      1985-90: Economist; 1990-1999: Vice President; 1999-current: Senior Vice
      President.

 U.S. COMMISSION ON CIVIL RIGHTS, Washington, D.C., (August 1984 - October
        1985): Co-Director: Project on Minority Income Trends.

 OFFICE OF POLICY: U.S. DEPARTMENT OF LABOR, Washington, D.C., (May 1982 -
       August 1984): Economist.

 PRESIDENT'S TASK FORCE ON FOOD ASSISTANCE (on leave from U.S. Department
       of Labor), Washington, D.C., (September 1983 - February 1984): Research
       Associate.

 OFFICE OF RESEARCH AND EVALUATION; BUREAU OF LABOR STATISTICS,
       Washington, D.C., (September 1980 - May 1982): Economist.

 UNIVERSITY OF WISCONSIN, Madison, Wisconsin (1978 - 79): Teaching Assistant.

 UNIVERSITY OF WISCONSIN, Madison, Wisconsin (1976 - 78): Science Writer.
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 Telecommunications


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        Operating Engineers.

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        27, 1996), on behalf of U.S. Industries.

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        Report (September 1992), on behalf of Wisconsin Central, (with Andrew M.
        Rosenfield).

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       89-C-0581. Report (September 1991), on behalf of ServiceMaster, (with Sherwin
       Rosen).

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         Case No. 88-2353. Report (March 1991), on behalf of Mueller, (with Sherwin
         Rosen).

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        Division, No. 89 C5790. Expert Report (June 1990), on behalf of Beatrice.

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        District Court of Harris County Texas, 280th Judicial District. Deposition
        Testimony (April 1990), on behalf of Dallas Morning News.

 Turner v. IDS Financial Services, Inc., U.S. District Court for the District of Minnesota, File
         No. 88-521. Report (November 1989), on behalf of IDS.

 McLendon et al. v. Continental Group et al., U.S. District Court for the District of New
       Jersey, Civil Action No. 83-1340 (SA). Trial Testimony (February 1989),
       Testimony before Special Master (February 1990), Testimony before Special Master
       (August 1990), on behalf of Continental Group, (with Sherwin Rosen).

 Application of Illini Carrier L.P. to provide natural gas transportation services, Testimony
        (April 1988), on behalf of Illini Carrier.
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                          EXHIBIT B
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                                          Materials Relied Upon

Documents

Deepwater Horizon Economic and Property Damages Settlement Agreement As Amended on May 2,
      2012

Class Counsel’s Request for Formal Policy Statement: Monthly Revenue, December 16, 2012

BP’s Response To Class Counsel’s December 16, 2012 Request for Policy Determination, January 9, 2013

BP’s Further Submission in Response to Class Counsel’s December 16, 2012 Request for Policy
        Determination, January 11, 2013

BP’s In Camera Submission dated January 23, 2013, including letter from Richard C. Godfrey, PowerPoint
         slides “Economic And Property Damages Settlement – Business Economic Loss (“BEL”)
         Compensation Issue”, Declaration of David Hall, Declaration of Xavier Oustalniol, and
         Declaration of Charles E. Finch

Class Counsel’s In Camera Submission “Monthly Costs and Revenue” and attachments, January 23, 2013

MDL 2179 Rec. Doc. 569 (Oct. 19, 2010)

Declaration of Roman L. Weil, February 18, 2013

Declaration of L. Richard Dietrich, February 18, 2013

Declaration of J. Lester Alexander, III, February 18, 2013

Supplemental Declaration of David Hall, February 18, 201.

Supplemental Declaration of Xavier Oustalniol, February 18, 2013

Supplemental Declaration of Charles E. Finch, February 18, 2013

Data

CSSP claim-level data as of February 11, 2013 (CSSP data field request - Priority items_130211.xlsx)

CSSP event-level data as of February 11, 2013 (Payment & Notice History Report_130211.xlsx)

GCCF payment data as of September 20, 2012 (payment_09_20_2012.xlsx)

GCCF Phase II status data as of May 31, 2012 (unpaid_not_denied_vs_denied_05_31_2012.xlsx)

GCCF EAP status data as of December 23, 2010
       (GCCF_EAP_Claimants_Report_12_23_2010_with_Business_Type_and_Geography)




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Deepwater Horizon MDL Litigation Short Form Joinder data transcribed by Edox (SFJComplete03-16-
      2012Update1.xlsx)

US Census NAICS descriptions (naics07.xlsx)

GIS mapping data from ESRI ArcGIS Desktop 10 (used to calculate miles to the coast reported in Table 1)




                                                   2
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                    CSSP BEL Claim Files Processed or Evaluated




                                       3
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                                   4
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                                   5
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Note: * Indicates claim is included in Table 6.




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                           EXHIBIT C
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Exhibit C.1



Background and Summary
   • Rice farm              (Zone D).
   • Benchmark year: 2009; Compensation months: September-November 2010
   • Uncorrected variable profit reported by CSSP was $90,000 lower in 2010 compared to 2009.
   • BEL Step 1 compensation offered by CSSP (pre-RTP): $2.4 million.

Step 1: Identify Data Inaccuracies
    • None for this claimant.

Step 2: Apply Triggers
    • Revenue spike – November 2009 (99% of annual revenue) and December 2010 (91% of 2010
        revenue).
    • Negative variable profit – observed in 17 of 24 months from 2009-2010
    • Wide variation in monthly variable profit margin – between negative margin in multiple months
        and 100% in November 2009

Step 3: Matching Revenue and Corresponding Variable Expenses
    • Correct any errors or irregularities in expenses flagged by the triggers
            o None for this claimant
    • Determine crop year revenue (e.g., 2009: July 2009-June 2010)
    • Match crop year revenue to variable expenses in production year:
            o Determine annual ratio of crop revenue to production year variable expenses; for 2009
                = 1.41 and 2010 = 1.49
            o Match crop year revenue to production year variable expenses; for each month in 2009
                and 2010, multiply (i) annual ratio of revenue to variable expenses and (ii) variable
                expenses reported for that month.
    • Calculate monthly matched variable profit by subtracting from revenue the corresponding
        variable expenses.

Step 4: Apply BEL framework
    • Determine claimant-friendly compensation period and calculate Step 1 compensation.
    • July-December yields the highest Corrected BEL Step 1 Compensation: $151,000, a 94%
        reduction from the CSSP offer.




                                                  1
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Exhibit C.2



Background and Summary
   • Paving contractor                   (Zone D)
   • Benchmark years: 2007-09; Compensation months: August-November 2010
   • Uncorrected variable profit reported by CSSP is $1.5 million higher in 2010 than in 2007-2009
       ($3.5 million higher measured May-December basis)
   • BEL Step 1 compensation offered by CSSP (pre-RTP): $6.07 million

Step 1: Identify Data Inaccuracies
    • Annual bad debt expense recorded in December each year and should be assigned to period
        when revenue related to the bad debt expense was earned
    • Negative expense for “supplies” reported in June 2009 should be corrected.
    • Proposed remedies to line item inaccuracies:
            o CSSP accountants should discuss with claimant and attempt to resolve based on
                appropriate information. In the absence of appropriate information, assign on a pro
                rata basis throughout the year.
    • For the purposes of the BEL implementation example, corrections to the bad debt expense and
        supply inaccuracies are not incorporated into the implementation example.

Step 2: Apply Triggers
    • Revenue spike – June 2010 (18.5% of annual revenue)
    • Negative variable profit – December 2007-09 and January 2010

Step 3: Matching Revenue and Corresponding Variable Expenses
    • Correct any errors or irregularities in expenses flagged by the triggers
            o None for this claimant
    • Match revenue to variable expenses reflected in claimant’s monthly financial statements:
            o If available, obtain job schedules and match revenue to corresponding variable
                expenses on a job-specific basis.
            o Where job-specific schedules are not available:
                     Determine annual ratio of revenue to variable expenses; for Benchmark Period
                       = 1.59 and for 2010 = 1.57
                     Match revenue to variable expenses; for each month in Benchmark Period and
                       2010, multiply (i) annual ratio of revenue to variable expenses and (ii) variable
                       expenses reported for that month.
    • Calculate monthly matched variable profit by subtracting from revenue the corresponding
        variable expenses.

Step 4: Apply BEL framework
    • Determine claimant-friendly compensation period and calculate Step 1 compensation.
    • August-December period yields highest Corrected BEL Step 1 Compensation: $2.42 million, a
        60% reduction from the CSSP offer.



                                                    2
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Exhibit C.3



Background and Summary
   • Catfish farm                (Zone D). 1
   • Benchmark year: 2009; Compensation months: May-December 2010
   • Uncorrected variable profit reported by CSSP was higher in 2010 than 2009 by $720,000, an
       increase of more than three thousand percent (3,000%)
   • BEL Step 1 compensation offered by CSSP (pre-RTP): $676,000

Step 1: Identify Data Inaccuracies
    • Negative “Fuel Expenses” in March 2009 should be corrected
    • Proposed remedies to this line item inaccuracy:
            o CSSP accountants should discuss with claimant and attempt to resolve based on
                appropriate information. In the absence of appropriate information, assign on a pro
                rata basis throughout the year.
    • For the purposes of the BEL implementation example, corrections to the fuel expense
        inaccuracy are not incorporated into the implementation example.

Step 2: Apply Triggers
    • Revenue spike - Claimant has large revenue spikes in November 2009 (32% of annual revenue)
        and April 2010 (28% of annual revenue).
    • Negative variable profit - Uncorrected variable profit measured by CSSP is negative in multiple
        months. April 2009 uncorrected variable profit is negative $907,000, driven by roughly $1.0
        million feed expense and only $34,000 in uncorrected revenue.
    • Wide variation in monthly variable profit - One month before the compensation period begins,
        the April 2010 uncorrected variable profit spiked by more than $500,000.

Step 3: Matching Revenue and Corresponding Variable Expenses
    • Claimant financial statements indicate that a large bulk feed purchase is the source of negative
        variable profit in April 2009.
            o CSSP accountants to discuss with claimant and attempt to understand the time period
                over which purchased feed would be consumed, with expenses matched to the
                appropriate time period. For the implementation example, we assume that feed is
                consumed over the following 12 months.
    • Match revenue to variable expenses reflected in claimant’s monthly financial statements:
            o Determine annual ratio of revenue to variable expenses; for 2009 = 1.14 and for 2010 =
                1.33
            o Match revenue to variable expenses; for each month in 2009 and 2010, multiply
                (i) annual ratio of revenue to variable expenses and (ii) adjusted variable expenses
                reported for each month, after assigning feed expenses over the (assumed) 12-month
                consumption period.
    • Calculate monthly variable profit as matched revenue less variable expenses.

1
 This business is a catfish farm and its operations differ from those of a traditional farm that grows row crops and
harvests them on a crop year. Therefore, there is no need to consider crop year sales.

                                                          3
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Step 4: Apply BEL framework
    • Determine claimant-friendly compensation period and calculate Step 1 compensation.
    • Correcting for the bulk feed purchase (but not matching revenue spikes to expenses incurred):
           o October-December yields the highest Corrected BEL Step 1 Compensation: $397,000, a
               40% reduction from the CSSP calculation.
    • Correcting for both the bulk feed purchase and matching revenue spikes to expenses incurred:
           o October-December yields the highest Corrected BEL Step 1 Compensation: $6,000, a
               99% reduction from CSSP calculation.




                                                 4
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Exhibit C.4



Background and Summary
   • Law firm                      (Zone D)
   • Benchmark year: 2008-2009; Compensation months: May-December 2010
   • Uncorrected variable profit reported by CSSP on a calendar year basis fell from $3.4 million in
       2008 to $1.0 million in 2009, and rose to $1.5 million in 2010.
   • BEL Step 1 compensation offered by CSSP (pre-RTP): $1.3 million.

Step 1: Identify Data Inaccuracies
    • Claimant has zero reported variable expenses in June and July of 2010.
    • Proposed remedy to line item inaccuracies:
            o CSSP accountants should discuss with claimant and attempt to resolve based on
                appropriate information.
    • For the purposes of the BEL implementation example, corrections to these inaccuracies are not
        incorporated into the implementation example.

Step 2: Apply Triggers
    • Revenue spike
           o Large revenue spikes which appear to reflect resolution of contingent fee litigation
                    December 2008 (71% of annual revenue)
                    January 2010 (32% of annual revenue)
                    May-June 2011 (combined 48% of annual revenue)
           o Smaller regular spikes in December 2009 (22% annual revenue) and December 2010
               (18% of annual revenue) consistent with year-end collection of outstanding receivables
               generated in prior months.

Step 3: Matching Revenue and Corresponding Variable Expenses
    • Match year-end revenue spikes to periods in which earned.2
            o CSSP accountants to discuss with claimant.
            o For implementation example, we assume December revenue contains collections of
                 $200,000 per year, and that these were generated pro-rata over the relevant calendar
                 year.
    • Match revenue spikes attributable to resolution of contingent fee matters to the period of
        activity on the matter.
            o CSSP accountants to discuss with claimant and determine when the case was initiated
                 and resolved.
                      If available, hours worked on matter can be used in attributing revenue.
                      If hours worked are unavailable, revenue can be attributed pro rata during the
                         life of the matter.


2
 Although this does not appear to be an issue in                  claim, as a general matter CSSP accountants
should identify pass-through or reimbursable disbursements (e.g., expert fees, referral fees, travel, etc.). If these
expenses are passed through to clients, they should be removed from both revenue and expenses in evaluating
compensation. If not, they should be assigned over the life of the relevant matter.

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                o For implementation example, we assume hours worked are not available and have
                  attributed revenue evenly over the life the matter. For implementation example, we
                  also assume that:
                        December 2008 fee was for a matter with a 3-year life
                        January 2010 fee was for a matter with a 1-year life
                        May-June 2011 fee was for a matter with a 1-year life
       •   Impute revenue for contingent fee matters open as of the time of claim review
              o Obtain a list from the claimant of all open contingency fee matters worked on during
                  each of the years of the Benchmark Period, 2010 and 2011 and the date each matter
                  was opened.
              o Method 1:
                        Value open contingent fee matters based on average value of claimant’s closed
                          contingent fee matters (including those that generated zero revenue) for at
                          least 2007-2009.
                        Determine the average duration of claimant’s closed contingent fee matters
                        Calculate average monthly revenue per matter by dividing the sum of
                          contingent fee awards (if any) by the sum of the number of months matters
                          were open.
                        Determine the number of claimant’s contingent fee matters that remain open
                          at the time of the claim review that were open in each of the years for the
                          Benchmark Period, 2010, and 2011 (e.g., if the claimant’s benchmark year is
                          2009, determine the number of open contingent matters in each year 2009-11).
                        Multiply the average monthly revenue per matter by the number of open
                          contingent matters in each month of the Benchmark Period, 2010, and 2011.
              o Method 2
                        Similar to Method 1 except value open contingent fee matters using standard
                          methods as applied in partnership dissolutions and divorce proceedings, using a
                          court-appointed valuation expert(s).
              o For implementation example, we assume                        had one contingent fee
                  matter in 2010 and two cases in 2011 that remain open at the time of the claim review.
                  We use an assumed average monthy value for these matters of $18,000 (see
                  supplemental calculation).

Determine variable profit and Step 1 compensation 3
    • Calculate matched monthly revenue as the sum of: (i) standard (non-spike) revenue in each
       month; (ii) revenue assigned from year-end collections; (iii) revenue assigned from closed
       contingent fee matters; and (iv) revenue imputed from open contingent fee matters.
    • Calculate monthly variable profit as matched revenue less variable expenses.

Step 4: Apply BEL framework
    • Determine claimant-friendly compensation period and calculate Step 1 compensation.
    • May-October period yields highest Corrected BEL Step 1 Compensation: $220,000, a 83%
        reduction from the CSSP offer.




3
    Matched data will be used to calculate V-test (including matched data for 2011).

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Exhibit C.5



Background and Summary
   • School and office furniture distributor              (Zone D).
   • Benchmark period: 2008-2009; Compensation months: August-November 2010
   • Uncorrected variable profit reported by CSSP fell from $455,000 in 2008 to $163,000 in 2009
       before recovering to $174,000 in 2010
   • BEL Step 1 compensation offered by CSSP (pre-RTP): $598,000

Step 1: Identify Data Inaccuracies
    • Negative revenue of $708,000 in February 2008 should be corrected
    • Proposed remedies to this line item inaccuracy:
            o CSSP accountants should discuss with claimant and attempt to resolve based on
                appropriate information. In the absence of appropriate information, assign on a pro
                rata basis throughout the year.
    • For the purposes of the BEL implementation example, we assume that revenue in the prior
        month of January 2008 was overstated by $1.0 million and have corrected revenue in both
        months based on this assumption.
    • Spike in salaries expense in December of each year may reflect bonus payments
            o CSSP accountants should discuss with claimant and attempt to resolve based on
                appropriate information.
    • Negative expense in travel and promotion expense in December 2008
            o CSSP accountants should discuss with claimant and attempt to resolve based on
                appropriate information.
    • For the purposes of the BEL implementation example, corrections to the salaries and travel and
        promotion inaccuracies are not incorporated into the implementation example.

Step 2: Apply Triggers
    • Revenue spike - July and August 2008 (22% and 18% of annual revenue) and July 2010 (24% of
        annual revenue).
    • Expense spikes – July and August 2008 purchases (21% and 20% of annual purchases) and
        August 2010 purchases (28% of annual purchases). July 2008 Freight expense (26% of annual
        freight)
    • Negative variable profit - Uncorrected variable profit measured by CSSP is negative in multiple
        months. August 2010 uncorrected variable profit is negative $407,000, driven by over $1.0
        million in “purchases” within COGS and only $642,000 in revenue.
    • Wide variation in monthly variable profit – positive 72% margin in July 2010 surrounded by
        negative margin in months immediately before and after.

Step 3: Matching Revenue and Corresponding Variable Expenses
    • Match variable expenses to revenue reflected in claimant’s monthly financial statements:
           o Determine annual ratio of variable expenses to revenue; for 2008 = 0.92 and for both
               2009 and 2010 = 0.96




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           o    Match variable expenses to revenue; for each month in Benchmark Period and 2010,
                multiply (i) annual ratio of variable expenses to revenue and (ii) adjusted revenue
                reported for each month.
    •   Calculate monthly variable profit as matched revenue less variable expenses.

Step 4: Apply BEL framework
    • Determine claimant-friendly compensation period and calculate Step 1 compensation.
    • May-October period yields highest Corrected BEL Step 1 Compensation: $112,000, an 81%
        reduction from the CSSP offer.




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                          EXHIBIT D
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Exhibit D.1
                                                                             Approach for Implementation of BEL for
                                                                                                          $ thousands
                                                                                                                                                                                                                             Revenue /
                                                             Jan       Feb          Mar         Apr       May           Jun        Jul          Aug          Sep              Oct          Nov        Dec          Annual    Expenses

Per CSSP Calculation:
2009     Uncorrected Revenue                                       0           0          0          0          0            0          0            0            0                   0     2,649         22         2,671
         Uncorrected Variable Expenses                             0           0          0        291        329          363        227          376          136                  47         0        126         1,894
         Uncorrected Variable Profit                               0           0          0       (291)      (329)        (363)      (227)        (376)        (136)                (47)    2,649       (104)          777

2010     Uncorrected Revenue                                       0           0           0         0          0            0          0            0               0                0      184       1,910         2,094
         Uncorrected Variable Expenses                             0          19           0       226        383          322        186          128              63               41        8          30         1,405
         Uncorrected Variable Profit                               0         (19)         (0)     (226)      (383)        (322)      (186)        (128)            (63)             (41)     176       1,880           689

         Change in Uncorrected Variable Profit (2010-2009)                                                    (54)            41         42       248              73                  6   (2,473)     1,984
         BEL Step 1 Compensation (per CSSP)                                                                                                                                  (2,393)


2009     Crop Year Revenue           Received in 2009                                                                                     0             0           0                  0    2,649           22
                                                                                                                                                                                                                     2,671     1.41
                                     Received in 2010              0           0          0           0          0             0
2010     Crop Year Revenue           Received in 2010                                                                                     0             0           0                  0     184       1,910
                                                                                                                                                                                                                     2,095     1.49
                                     Received in 2011              0           1          0           0          0             0


Implementation:
   2009 Matched Revenue                                            0           0          0       410        464          511            320      530          192                  66            0     178          2,671
        Matched Variable Expenses                                  0           0          0       291        329          363            227      376          136                  47            0     126          1,894
        Matched Variable Profit                                    0           0          0       119        135          149             93      154           56                  19            0      52            777

   2010 Matched Revenue                                            0         29           0       337        571          480            277      191              94               61           12         44       2,095
        Matched Variable Expenses                                  0         19           0       226        383          322            186      128              63               41            8         30       1,405
        Matched Variable Profit                                    0          9           0       111        188          158             91       63              31               20            4         15         690

         Change in Corrected Variable Profit (2010-2009)                                                        53             9          (2)         (91)         (25)                1         4          (37)
         Corrected BEL Step 1 Compensation                                                                                                                           (151)




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Exhibit D.2
                                                                                  Approach for Implementation of BEL for
                                                                                                                             $ millions
                                                                                                                                                                                                                              Revenue /
                                                                 Jan          Feb           Mar           Apr          May           Jun      Jul      Aug      Sep           Oct        Nov      Dec    May-Dec     Annual   Expenses

Per CSSP Calculation:
2007-09 Average       Uncorrected Revenue                    2.48          2.94          3.82         4.01          4.66       5.96        3.70     8.91     6.91         5.80        5.76      2.63    44.34      57.59        1.59
                      Uncorrected Variable Expense           1.90          1.74          2.11         2.87          2.74       3.48        3.40     4.41     3.70         3.45        3.67      2.85    27.69      36.30
                      Uncorrected Variable Profit            0.58          1.21          1.71         1.15          1.92       2.48        0.30     4.50     3.21         2.34        2.10     (0.22)   16.65      21.29

2010                   Uncorrected Revenue                    1.20         3.21          3.51         7.19          5.32      11.61        7.88     6.26     6.45         3.62        2.56     3.79     47.49      62.59        1.57
                       Uncorrected Variable Expenses          2.21         1.59          2.85         5.82          4.01       4.46        4.58     4.03     3.93         3.01        1.84     1.48     27.33      39.81
                       Uncorrected Variable Profit           (1.02)        1.62          0.66         1.36          1.32       7.14        3.30     2.23     2.52         0.62        0.72     2.32     20.16      22.79

                       Change in Uncorrected Variable Profit (2010-2007/09 Average)                                 (0.60)     4.66        3.00     (2.27)   (0.69)       (1.73)      (1.38)   2.53      3.51
                       BEL Step 1 Compensation (per CSSP)                                                                                                             (6.07)

Implementation:
2007-09 Average        Matched Revenue                       3.01          2.75          3.34         4.55          4.35       5.52        5.40     6.99     5.86         5.48        5.82     4.51     43.94      57.59
                       Corrected Variable Expense            1.90          1.74          2.11         2.87          2.74       3.48        3.40     4.41     3.70         3.45        3.67     2.85     27.69      36.30
                       Matched Variable Profit               1.11          1.02          1.24         1.68          1.61       2.04        1.99     2.59     2.17         2.02        2.15     1.67     16.24      21.29

2010                   Matched Revenue                       3.48          2.49          4.48         9.16          6.30       7.02        7.20     6.34     6.18         4.73        2.89     2.32     42.98      62.59
                       Corrected Variable Expenses           2.21          1.59          2.85         5.82          4.01       4.46        4.58     4.03     3.93         3.01        1.84     1.48     27.33      39.81
                       Matched Variable Profit               1.27          0.91          1.63         3.33          2.29       2.56        2.62     2.31     2.25         1.72        1.05     0.84     15.65      22.79

                       Change in Corrected Variable Profit (2010-2007/09 Average)                                   0.68       0.51        0.63     (0.28)   0.08         (0.30)      (1.10)   (0.82)   (0.60)
                       Corrected BEL Step 1 Compensation                                                                                                                     (2.42)


Note: Corrected BEL Step 1 Compensation does not account for inaccuracies identified in initial line item review.




                                                                                                                                 2
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Exhibit D.3
                                                                              Approach for Implementation of BEL for
                                                                                                                     $ thousands
                                                                                                                                                                                                                       Revenue /
                                                       Jan        Feb          Mar          Apr          May              Jun            Jul     Aug            Sep        Oct     Nov       Dec   May-Dec    Annual   Expenses

Per CSSP Calculation:
2009     Uncorrected Revenue                         0             0         125            34         147           357            163         77              85    158        634       211     1,833     1,992
         Uncorrected Variable Expenses              12             8         (10)          942         143           248            115        136             182     89         75        39     1,027     1,978
         Uncorrected Variable Profit               (12)           (8)        135          (907)          4           110             48        (59)            (96)    69        559       172       806        14

2010     Uncorrected Revenue                        97            70          16          584          167             5            293        272             241    162        112        62     1,314     2,082
         Uncorrected Variable Expenses               9             7          14          125          175           235            245        192             179     85         28        45     1,184     1,339
         Uncorrected Variable Profit                88            63           3          459           (8)         (230)            48         80              62     77         84        17       131       743

         Change in Uncorrected Variable Profit (2010-2009)                                              (12)        (340)            (0)       139             158         8     (475)     (154)
         BEL Step 1 Compensation (per CSSP)                                                                                                            (676)


April 2009 Cost Spike                                  900    Bulk Purchase - Distribute to Next Twelve Months Pro Rata
          2009                                     0             0             0            75          75           75             75         75          75         75         75        75
                                                                                                                                                                                                                900
          2010                                    75            75           75              0           0            0              0          0           0          0          0         0


Implementation Correcting for Bulk Purchase Only:
2009    Uncorrected Revenue                         0              0         125           34          147           357            163          77          85       158        634       211     1,833     1,992       1.14
        Matched Variable Expenses                  12              8         (10)         117          218           323            190         211         257       164        150       114     1,627     1,753
        Variable Profit (partial correction)      (12)            (8)        135          (82)         (71)           35            (27)       (134)       (171)       (6)       484        97       206       239

2010     Uncorrected Revenue                        97            70           16         584          167             5            293        272             241    162        112        62     1,314     2,082       1.33
         Matched Variable Expenses                  84            82           89         125          175           235            245        192             179     85         28        45     1,184     1,564
         Variable Profit (partial correction)       13           (12)         (72)        459           (8)         (230)            48         80              62     77         84        17       131       518

         Change in Variable Profit (Partial Correction) (2010-2009)                                      63         (265)            75        214             233     83        (400)      (79)
         BEL Step 1 Compensation (Partial Correction)                                                                                                                              (397)


Implementation Correcting for Bulk Purchase and Revenue Matching:
2009    Matched Revenue                           13           9              (11)        133          247           367            216        240             292    187        170       129     1,848     1,992
        Matched Variable Expenses                 12           8              (10)        117          218           323            190        211             257    164        150       114     1,627     1,753
        Matched Variable Profit                    2           1               (1)         16           30            44             26         29              35     22         20        16       222       239

2010     Matched Revenue                           112          110          118          166           233          313            326        256             238    113         37        59     1,576     2,082
         Matched Variable Expenses                  84           82           89          125           175          235            245        192             179     85         28        45     1,184     1,564
         Matched Variable Profit                    28           27           29           41            58           78             81         64              59     28          9        15       392       518

         Change in Corrected Variable Profit (2010-2009)                                                 28           34             55         35              24         6      (11)       (1)
         Corrected BEL Step 1 Compensation                                                                                                                                          (6)




                                                                                                                                3
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Exhibit D.4
                                                                        Approach for Implementation of BEL for
                                                                                                  $ thousands
                                                     Jan          Feb         Mar      Apr           May          Jun     Jul             Aug           Sep     Oct    Nov      Dec       Annual
Per CSSP Calculation:
2008     Uncorrected Revenue                        72            38          24      238          319           65     107              60            14      55      66       2,627     3,684
         Uncorrected Variable Expenses              32            19          17       18           16           18      12              14            15      16      15         136       327
         Uncorrected Variable Profit                40            19           7      219          302           47      95              46             0      39      51       2,491     3,357

2009     Uncorrected Revenue                       148          147           29      49             9           39     105              90           110     169      25           255   1,175
         Uncorrected Variable Expenses              17           16           18      16            17           17      19              19            30       6      17            26     216
         Uncorrected Variable Profit               132          130           11      33            -8           22      86              71            80     163       8           229     958

2010     Uncorrected Revenue                       500          114          229      88            56           64      25              21            24      91      70           283   1,565
         Uncorrected Variable Expenses              22           11           14      10             9            0       0               4            10       3       4            13     101
         Uncorrected Variable Profit               478          104          215      78            47           64      25              17            13      88      65           269   1,464

         Change in Uncorrected Variable Profit (2010-2008/09 Average)                             (100)         29      (66)            (42)          (26)    (13)     36    ##########
         BEL Step 1 Compensation (per CSSP)                                                                                                     (1,273)

2011     Revenue                                   122            92          93       54          315          241      18              23            87      27      46       47        1,165

End of Year Revenue Adjustments - Distributed Evenly by Month
2008     Adjustment                     200           17          17          17      17            17           17      17              17            17      17      17       17        200
2009     Adjustment                     200           17          17          17      17            17           17      17              17            17      17      17       17        200
2010     Adjustment                     200           17          17          17      17            17           17      17              17            17      17      17       17        200

December 2008 Spike:                  $2,300    contingency fee award
       Matched Revenue                 2006        64           64           64       64           64           64      64              64            64       64      64      64
                                       2007        64           64           64       64           64           64      64              64            64       64      64      64         2,300
                                       2008        64           64           64       64           64           64      64              64            64       64      64      64

January 2010 Spike:                   $400      contingency fee award
         Matched Revenue              2009          0           33           33       33           33           33      33              33            33       33      33      33
                                                                                                                                                                                           400
                                      2010         33            0            0        0            0            0       0               0             0        0       0       0

May-June 2011 Spike                   $400      contingency fee award
        Matched Revenue               2010          0            0            0        0            0            0       33             33            33       33      33      33
                                                                                                                                                                                           400
                                      2011         33           33           33       33           33           33        0              0             0        0       0       0

Imputed Revenue for Contingent Matters Outstanding at Claim Review
                                     2010          18           18           18       18           18           18       18             18            18       18      18      18          211
                                     2011          35           35           35       35           35           35       35             35            35       35      35      35          423
Implementation - Sum Components from Six Prior Panels:
   2008 Matched Revenue                          136           102           88      302          383           129     171         124               78      119     130     191         1,951
         Corrected Variable Expenses               32           19           17       18           16            18      12          14               15       16      15     136           327
         Matched Variable Profit                 104            83           71      283          366           111     159         110               64      103     115      55         1,624

   2009 Matched Revenue                           165           197          79       99           59           89      155         140              160      219      75     105         1,541
        Corrected Variable Expenses                17            16          18       16           17           17       19          19               30        6      17      26           216
        Matched Variable Profit                   148           180          61       83           42           72      136         121              130      213      58      79         1,325

   2010 Matched Revenue                           168           149         263      123           91           98      93              89            91      159     137     150         1,610
        Corrected Variable Expenses                22            11          14       10            9            0       0               4            10        3       4      13           101
        Matched Variable Profit                   146           138         249      113           81           98      93              84            81      156     133     137         1,509

         Change in Corrected Variable Profit (2010-2008/09 Average)                               (123)          6      (55)            (31)          (16)     (2)     46      70
         Corrected BEL Step 1 Compensation                                                                                      (220)

   2011 Matched Revenue                          191           161         162       123           183          110      53             58           122       62      82      82         1,388
        V-Test Results                          May-Jul 2010 vs. 2008-2009                  -43% Pass
                                                May-Jul 2011 vs. 2010                        23% Pass

                                                                                                          4
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Exhibit D.4 (continued)
                             Calculation of Average Monthly Revenue from Contingent Fee Matters
                                    Hypothetical Example for             Implementation

                                                                                                             Average        Average
                              Resolution    Status at Claim                                                Revenue per    Revenue per
    Matter     Start Month     Month            Review      Months Active   Years Active   Total Revenue      Year          Month

A                 Jan-06           Dec-08      Closed             24               2          1,533            767               64
B                 Feb-09           Jan-10      Closed             12               2            400            200               33
C                 Jul-10           Jun-11      Closed             12               2            400            200               33
D                 Jan-07           Dec-08      Closed             24               2              0              0                0
E                 Jan-07           Dec-07      Closed             12               1              0              0                0
F                 Jan-08           Dec-09      Closed             24               2              0              0                0
G                 Jan-09           Dec-09      Closed             12               1              0              0                0
H                 Jul-09           Jun-10      Closed             12               2              0              0                0

Total                                                           132              14           2,333            167               18


Note:         Implementation for              assumes the claimant had one active matter in 2010 and 2 active matters in 2011.




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Exhibit D.5
                                                                                Approach for Implementation of BEL for
                                                                                                                     $ thousands
                                                                                                                                                                                                                                              Expenses /
                                                        Jan          Feb          Mar          Apr       May            Jun          Jul               Aug         Sep              Oct         Nov         Dec         May-Dec    Annual      Revenue

Per CSSP Calculation:
2008       Uncorrected Revenue                         1,235.5       (708.3)       205.5        232.3      404.6         406.8      1,283.8            1,065.6       968.4           621.4        204.8       27.5       4,982.9    5,947.9
           Uncorrected Variable Expense                  188.2        166.0        295.2        141.9      314.0         376.4      1,208.4              999.3       777.5           441.9        184.7      399.5       4,701.8    5,493.1
           Uncorrected Variable Profit                 1,047.3       (874.3)       (89.7)        90.4       90.6          30.4         75.4               66.3       190.9           179.4         20.1     (372.0)        281.2      454.9

2009       Uncorrected Revenue                           326.0          504.4      115.0        273.3      452.8         217.2        289.4              653.5       465.9           337.5        201.1      153.1       2,770.6    3,989.4
           Uncorrected Variable Expense                  353.0          398.8      103.6        297.9      431.8         165.0        325.1              569.6       388.4           318.0        192.3      282.3       2,672.6    3,825.8
           Uncorrected Variable Profit                   (26.9)         105.6       11.4        (24.6)      21.0          52.2        (35.7)              84.0        77.5            19.5          8.8     (129.2)         98.0      163.6

2010       Uncorrected Revenue                           330.0          196.7      148.5         96.8      119.7         151.0      1,070.8              641.8       823.3           266.9        413.1      234.0       3,720.6    4,492.6
           Uncorrected Variable Expenses                 323.4          145.5      174.4        113.0      115.2         252.1        295.4            1,048.9       649.2           274.6        447.5      479.8       3,562.7    4,319.1
           Uncorrected Variable Profit                     6.6           51.2      (25.9)       (16.2)       4.5        (101.2)       775.4             (407.0)      174.1            (7.7)       (34.4)    (245.8)        157.9      173.6

           Change in Uncorrected Variable Profit (2010-2008/09 Average)                                  (51.3)       (142.5)       755.6          (482.2)         39.9           (107.1)       (48.9)      4.8          (31.7)
           BEL Step 1 Compensation (per CSSP)                                                                                                                               (598.3)


February 2008 Negative Revenue                         (1,000.0) Revision of prior month's revenue
           2009                                        (1,000.0)     1,000.0           0.0         0.0         0.0            0.0          0.0               0.0         0.0              0.0         0.0         0.0                   0.0

Implementation Correcting for Negative Revenue Only:
2008      Corrected Revenue                              235.5          291.7      205.5        232.3      404.6         406.8      1,283.8            1,065.6       968.4           621.4        204.8       27.5       4,982.9    5,947.9
          Uncorrected Variable Expense                   188.2          166.0      295.2        141.9      314.0         376.4      1,208.4              999.3       777.5           441.9        184.7      399.5       4,701.8    5,493.1      0.92
          Variable Profit (partial correction)            47.3          125.7      (89.7)        90.4       90.6          30.4         75.4               66.3       190.9           179.4         20.1     (372.0)        281.2      454.9

2009       Corrected Revenue                             326.0          504.4      115.0        273.3      452.8         217.2        289.4              653.5       465.9           337.5        201.1      153.1       2,770.6    3,989.4
           Uncorrected Variable Expense                  353.0          398.8      103.6        297.9      431.8         165.0        325.1              569.6       388.4           318.0        192.3      282.3       2,672.6    3,825.8      0.96
           Variable Profit (partial correction)          (26.9)         105.6       11.4        (24.6)      21.0          52.2        (35.7)              84.0        77.5            19.5          8.8     (129.2)         98.0      163.6

2010       Corrected Revenue                             330.0          196.7      148.5         96.8      119.7         151.0      1,070.8              641.8       823.3           266.9        413.1      234.0       3,720.6    4,492.6
           Uncorrected Variable Expenses                 323.4          145.5      174.4        113.0      115.2         252.1        295.4            1,048.9       649.2           274.6        447.5      479.8       3,562.7    4,319.1      0.96
           Variable Profit (partial correction)            6.6           51.2      (25.9)       (16.2)       4.5        (101.2)       775.4             (407.0)      174.1            (7.7)       (34.4)    (245.8)        157.9      173.6


Implementation:
2008      Corrected Revenue                              235.5          291.7      205.5        232.3      404.6         406.8      1,283.8            1,065.6       968.4           621.4        204.8       27.5       4,982.9    5,947.9
          Matched Variable Expense                       217.5          269.4      189.8        214.5      373.7         375.7      1,185.6              984.1       894.4           573.9        189.2       25.4       4,601.9    5,493.1
          Matched Variable Profit                         18.0           22.3       15.7         17.8       30.9          31.1         98.2               81.5        74.1            47.5         15.7        2.1         381.1      454.9

2009       Corrected Revenue                             326.0          504.4      115.0        273.3      452.8         217.2        289.4              653.5       465.9           337.5        201.1      153.1       2,770.6    3,989.4
           Matched Variable Expense                      312.7          483.7      110.3        262.1      434.2         208.3        277.5              626.8       446.8           323.7        192.8      146.9       2,657.0    3,825.8
           Matched Variable Profit                        13.4           20.7        4.7         11.2       18.6           8.9         11.9               26.8        19.1            13.8          8.2        6.3         113.6      163.6

2010       Corrected Revenue                             330.0          196.7      148.5         96.8      119.7         151.0      1,070.8              641.8       823.3           266.9        413.1      234.0       3,720.6    4,492.6
           Matched Variable Expense                      317.3          189.1      142.8         93.0      115.1         145.1      1,029.5              617.0       791.5           256.6        397.1      225.0       3,576.9    4,319.1
           Matched Variable Profit                        12.8            7.6        5.7          3.7        4.6           5.8         41.4               24.8        31.8            10.3         16.0        9.0         143.8      173.6

           Change in Corrected Variable Profit (2010-2008/09 Average)                                    (20.1)        (14.2)       (13.6)             (29.3)      (14.8)          (20.4)         4.0       4.8         (103.6)
           Corrected BEL Step 1 Compensation                                                                                                 (112.4)




                                                                                                                          6
